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   EXHIBIT 1
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                                      (CITAC/ON JUDIClAL)

      NOTICE TO DEFENDANT:                                                                                          ENDORSED FILED
      (AV1S0 AL DEMANDADO): GTY TECHNOLOGY HOLDINGS INC., a Cayman                                                  SAN MATEO COUNTV
      lslands exempted company; GTY GOVTECH, INC., a Massachusetts
      corporation, GTY TECHNOLOGY MERGER SUB, INC., a Delaware corporatior
      GTY INVESTO,RS,. LLC, a.Delaware timited liability company
                                                                                                                            NOV 2 0 2018
      company, HARRY L. YOU,:an individual, STEPHEN J.. ROHLEDER, an                                              CIerK of th'e Superiur uourt
      individu.al, and'DOES 1 through 50, ihclusive.                                                              By_ WRNA P. RIVERA-r<lAR1tNEZ
                                                                                                                         t}EPl1TY CLERK
      YOU ARE BEING SUED BY PLAINTIFF:
      (LO ESTi4 DEMAAIDANDO EL DEMANDANTE):
      OPENGOV, INC.
      NOTICEI You have been sued. The court may dedde agatnst you withcut yaur bebeg heard uniess you respond withEn.30 days. Read the inforrnatlon
      below.
         You have 30 CALENDAR DAYS atter this summens and legal papers are served an you to tae a wrnten response at this court and have a Copy
      served on the.plafntffC A tetter ar ptrone eag wi>t not proted you. Your written response rtutst be In proper tegal form ff you vvant the court to hear your
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      the court derk for a fee waiver fonn. if you do not 5ie. your response on thne; you may lose the case by default, and yourvrages, money, and property
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      refenal servtce: tf you cannot afford an attomey, you may be'etigtble for free legal senrtces rrom a nonpro8t tegal servtoes. program. You can locate
      these nonprofit.groups at the'CaGforNa, Legal Services Web site (wwwJawhelpcat8omta.org), the Caflfamta Courts Ontine Self-Help Center
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     (D nombre, la o7recci6n y el numero de te/t3fono del abogado del demandante; o del demartdante que no tiene abogado, es):
     JOHN W. KEKER, JEFFREY R. CHANIN, NICHOLAS S: GOLDBERG, KEKER, VAN NEST & PETERS LLP
     633 Battery Stn:et, San Francisco, CA 94111, telephone 415-391-5400; fax 415-397-7188
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                                          NOTICE TO THE PERSON SERVED: You are served
                                          1.     ❑ as an indivtdual defendant
                                          2      ❑ as the person sued under the ffctftious name of (spedfy):
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                                          3.    ® on behalf of (specify): GTY INVESTORS, LLC, A DELAWARE LIMITED LIABILITY COMPANY COMPANY
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 1             Plaintiff OpenGov, Inc. ("OpenGov"), by and through its attorneys, Keker, Van Nest &

 2   Peters LLC, for its Complaint against Defendants GTY Technology Holdings Inc., a Cayman

3    Islands exempted company ("GTY Holdings"), GTY Govtech, Inc., a Massachusetts corporation

4    ("New GTY"), GTY Technology Merger Sub, Inc. ("GTY Merger Sub"), GTY Investors, LLC

 5   ("GTY Investors"), Harry L. You ("You"), Stephen J. Rohleder ("Rohleder"), and Does 1-50

6 I(collectively, "the GTY Defendants") alleges as follows:

 7                                  I. NATURE OF THE ACTION
 8             1.     This case arises out of the GTY Defendants' deliberate theft and misuse of

 9    Plaintiff OpenGov's proprietary, confidential and trade secret information, in-blatant disregard of

10    the parties' confidentiality agreement.

11             2.     OpenGov is a critically acclaimed pioneer and leader in the cloud-based public

12    sector software solutions market, providing budgeting, operational performance, and citizen

13    engagement software to more than 2,000 public sector agencies nationwide. Since the City of

14    Palo Alto became its first customer in 2012, OpenGov has expanded its software offerings

15    internally and by acquiring complimentary companies to serve its rapidly growing customer

16    base, one that now includes the states of California, Missouri, Nebraska, Maryland, Delaware,

17    Colorado, Ohio, Idaho, West Virginia, hundreds of municipalities including the District of

18    Columbia and the City of San Jose, school districts, and other public sector organizations. To

19    continue its growth path and better serve its customer base, OpenGov has been executing a

20    proprietary, confidential "platform rollup acquisition strategy," targeting for acquisition specific

21    companies having particular attributes and products that, when integrated, would permit

22    OpenGov to offer a scalable, robust, and best-in-class suite of diverse, cloud-based software

23    products to secure its place as the leading, vertically-integrated franchise for the cloud-based

24    public sector software solutions market, and to do good for our nation's communities.

25             3.     Defendant GTY Holdings is a"blank check," publicly-held special purpose

26    acquisition company ("SPAC") that has no business of its own. GTY Holdings raised $550

27    million in its October 2016 initial public offering (IPO) with a general purpose to effect some

28    merger, acquisition or other business combination with one or more businesses in some industry

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 1    by November 2018, after which time it would need to return its shareholders' money if no such
 2    business combination was completed.

 3             4.   In late-April-2017, Defendant You, one of GTY Holdings' promoters, asked an

 4    OpenGov Board member to introduce him to OpenGov's CEO Zachary Bookman to discuss a

 5    potential transaction. Six months after its IPO, the GTY Defendants still had no viable

 6    acquisition strategy nor letter of intent to acquire any companies using the GTY Holdings SPAC.

 7    Defendant You, therefore, proposed a transaction whereby GTY Holdings would use its $550

 8    million SPAC Trust Account to acquire OpenGov and to finance the acquisition of one or more

 9    complimentary companies.

10             5.      The GTY Defendants possessed scant knowledge about OpenGov's business or

11    the specifics of the cloud-based public sector software solutions market, let alone the detailed

12    information that OpenGov possessed both about the market and about other companies' product

13    offerings, customers, and potential to be combined with OpenGov. For that, they needed

14    OpenGov's insights, market intelligence, and cloud / softw are- as-a-service (SaaS) platform

15    expertise.

16             6.   To advance the parties' discussions that would involve OpenGov's disclosure of

17    its proprietary and confidential information to the GTY Defendants, GTY Holdings and

18    OpenGov entered into a Confidentiality Agreement on May 9, 2017. Defendant GTY Holdings,

19    described as the "Recipient" of information in the Agreement, promised to keep OpenGov's

20    confidential information "strictly confidential," and further agreed that such information could

21    only be used by the GTY Defendants for a transaction that included OpenGov. The Agreement

22    specifically recited that Confidential Information included "the identities of any parties involved

23    in such a possible transaction, and all other information provided in connection therewith."

24             7.   After entering into the Confidentiality Agreement, OpenGov disclosed its

25 I confidential and trade secret information to the GTY Defendants, and briefed Defendant You,

26    his co-promoters William Green and Joseph Tucci, and GTY Holdings' Director Defendant

27    Rohleder on the details of OpenGov's platform roll-up acquisition strategy, including the

28    identities and attributes of the specific acquisition targets that OpenGov had selected from

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 1    among the hundreds of companies offering software for the public sector. During the first half

 2    of 2018, OpenGov disclosed to the GTY Defendants the identities of each of the target

 3    companies that OpenGov had selected as acquisition candidates. OpenGov arranged calls and

 4    meetings between the acquisition targets and the GTY Defendants, and brolcered negotiations

 5    between those companies and the GTY Defendants about the terms of a combination with

 6    OpenGov through a merger and acquisition using the GTY Holdings SPAC. In anticipation of a

 7    combination with the acquisition candidates it had identified, OpenGov's executives expended

 8    countless hours and substantial resources to accomplish the transaction.

 9             8:   OpenGov did all of this because the GTY Defendants courted OpenGov and led

10    OpenGov to believe that any transaction GTY Holdings closed in the public sector software

11    solutions market would have OpenGov at its core, consistent with GTY Holdings' written

12    agreement that OpenGov's confidential information would be used only in connection with a

13    potential transaction with OpenGov.

14             9.   The GTY Defendants also falsely represented that GTY Holdings would acquire

15    OpenGov for $225—$250 million in cash and stock and combine it with OpenGov's roll-up

16    acquisition targets to create a vertically-integrated, public sector software business combination

17    worth more than $1 billion, by Defendant You's account. OpenGov's CEO Bookman was to

18    become the CEO of the combined company, and two of OpenGov's directors were to sit on its

19    board. Defendant You encouraged Mr. Bookman to tell OpenGov's acquisition targets that they

20    would be partners with OpenGov in the contemplated transaction, and Defendant You told the

21    acquisition targets this himself. Meanwhile, the GTY Defendants courted Mr. Bookman with

22    lavish dinners and invitations to exclusive events, like game seven of the NBA Finals.

23             10. But, unbelcnownst to OpenGov, the GTY Defendants had decided to cut out

24    OpenGov and misappropriate OpenGov's confidential platform roll-up acquisition strategy and

25    trade secret information for itself. In July 2018, after months of acquiring OpenGov's trade

26    secrets and collaborating with OpenGov to execute OpenGov's platform roll-up acquisition

27    strategy, and in the midst of negotiating the terms of a final letter of intent, the GTY Defendants

28    began to duck OpenGov's calls, put off ineetings, and delay further discussions. When

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 1     confronted by one of OpenGov's directors, Defendant You advised that the GTY Defendants did

 2     not intend to pursue the transaction. But OpenGov subsequently learned that the GTY

 3     Defendants were operating behind OpenGov's back to pursue acquisitions of the companies that

 4     OpenGov had identified and personally introduced to GTY as acquisition candidates for

 5     OpenGov's platform roll-up strategy.

 6              11. On September 12, 2018, just weeks after abandoning OpenGov, the GTY

 7     Defendants issued a press release announcing that GTY Holdings had entered into definitive

 8     agreements to acquire for $497 million six companies to "create the leading North American

 9     SaaS/Cloud software company focused on the public sector." Each of the companies was a roll-

10     up acquisition target that OpenGov had selected from the large and fragmented field of public

11     sector software vendors, had identified to the GTY Defendants, and had actively courted for a

12     combination with OpenGov. In fact, the GTY Defendants led the acquisition candidates

13     themselves to believe that OpenGov would be at the center of the business combination.

14              12. Adding insult to injury, when announcing the transaction, the GTY Defendants

15     reinvented history by crediting the sponsors of GTY Holdings with OpenGov's business

16     strategy, insight and foresight. They falsely claimed that, "[a]fter an extensive search process,

17     the [GTY] sponsors elected to bring together best-in-class companies to establish an integrated

18     software solution in the highly fragmented and underpenetrated public sector market." The

19     segments of the markets to be addressed by the combination, the benefits of doing so, and the

20 i manner of doing so, also were all disclosed to GTY by OpenGov.

21I             13. The GTY Defendants defrauded OpenGov, breached their Agreement to use

22     OpenGov's confidential information only for a transaction involving OpenGov, misappropriated

23     OpenGov's trade secrets, and seized for themselves every Icey aspect of OpenGov's proprietary

24     platform roll-up acquisition strategy, including, among other things, OpenGov's "clouds

25     framework" and the specific acquisition candidates that OpenGov had identified for a

26     combination with itself. The GTY Defendants did so to create exactly what OpenGov had

27     envisioned—a new, vertically-integrated business combination that could offer a best-in-class

28     suite of cloud-based software solutions for the public sector. Without misappropriating

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 1    OpenGov's proprietary, confidential and trade secret information and expertise, without talcing
 2    advantage of OpenGov's reputation and personal relationships to gain an entree to the candidate

 3    companies,_ and without OpenGov's extensive worlc to facilitate the acquisitions, the GTY

 4    Defendants would never have gotten to first base in putting together the announced combination.

 5             14. The GTY Defendants intend to complete their business combination by May 1,

 6    2019. If approved by GTY Holdings' shareholders, the GTY Defendants' business combination

 7    would establish the exact, vertically-integrated cloud-based software platform that OpenGov

 8    envisioned as the culmination of its platform roll-up acquisition strategy, but one that will

 9    compete directly with OpenGov.

10             15.   OpenGov therefore brings this action for preliminary and permanent injunctive

11    relief, for a constructive trust over OpenGov's interest in New GTY and GTY Merger Sub—the

12    entities that the GTY Defendants created to combine OpenGov's platform roll-up acquisition

13    targets into a new company—for the disgorgement of the GTY Defendants' ill-gotten profits and

14    unjust em•ichment, and for compensatory and punitive damages.

15                                            II. PARTIES
16             16. Plaintiff OpenGov is a corporation organized under the laws of the State of

17    Delaware and maintains its principal place of business at 955 Charter Street, Redwood City,

18    California.

19             17. Defendant GTY Technology Holdings Inc. is a Cayman Islands company, with its

20    principal place of business at 1180 North Town Center Drive, Suite 100, Las Vegas, Nevada.

21             18. Defendant GTY Govtech, Inc., formerly known as GTY Technology Holdings,

22    Inc., is a corporation organized under the laws of Massachusetts with its principal place of

23    business at 1180 North Town Center Drive, Suite 100, Las Vegas, Nevada.

24             19. Defendant GTY Technology Merger Sub, Inc. is a corporation organized under the

25    laws of the State of Delaware with its principal place of business at 1180 North Town Center

26    Drive, Suite 100, Las Vegas, Nevada.

27             20. Defendant GTY Investors, LLC is a Delaware limited liability company, with its

28    principal place of business at 1180 North Town Center Drive, Suite 100, Las Vegas, Nevada.

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 1              21. Defendant Harry L. You is an individual who, on information and belief currently
 2     resides in New Hampshire.

 3              22. Defendant Stephen J. Rohleder is an individual who, on information and belief,
 4     cui-rently resides in Texas.

 5              23.   Defendants Does 1 through 50, inclusive, whether individuals, corporations,

 6     partnerships or otherwise, are fictitious names of Defendants whose true names are, at this time,

 7     unknown to Plaintiff. Plaintiff is informed, believes and thereon alleges that each of said

 8     fictiously named Defendants contributed to the damages herein alleged or has been unjustly

 9     enriched by reason of the Defendants conduct alleged herein, and Plaintiff will name such

10     Defendants when their identities have been ascertained.

11                                    III. JURISBICTION AND VENUE
12              24.   This Court has jurisdiction over all causes of action asserted herein pursuant to the

13     California Constitution, Article VI, § 10, because this case involves causes of action not given

14     by statute to other trial courts or administrative agencies

15              25. This Court has jurisdiction over the GTY Defendants under California Code of

16     Civil Procedure §§ 4 10. 10 and 410.50 because they are doing business in California, and/or

17     because they intentionally directed their activities at OpenGov, which has its principal place of

18'    business in California, and/or because the actions giving rise to this Complaint occurred in

19     California, and/or because the injuries alleged herein occurred in California.

20              26.   Venue is proper in this judicial district, pursuant to California Code of Civil

21     Procedure §§ 395(a) and 395.5, because it is the county in which injury occurred, where the

22     contract at issue was made or was to be performed, where the obligation or liability arises, and

23     where the breach occurred.

24              27.   The amount in controversy, exclusive of interest, costs, and attorney's fees,

25     exceeds the jurisdictional minimum of $25,000.

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 1                                  IV. GENERAL ALLEGATIONS
 2             A.    OpenGov is a Leading Provider of Cloud-Based SaaS Software for Public
                     Sector Budgeting, Operational Performance, and Citizen Engagement.
 3

 4             28. OpenGov was founded in 2012 by Zachary Bookman, Joseph Lonsdale, and

 5    technologists from Stanford University, who studied government budgeting in the aftermath of

 6    the Great Recession. The team observed dedicated public servants struggling to use antiquated

 7    technology that prevented them from accessing timely spending information and communicating

 8    their priorities to citizens and elected officials. Believing there was a better way, OpenGov

 9    developed cloud-based software solutions to facilitate more open, effective, and accountable

10    government.

11             29. Today, OpenGov is furthering its mission of powering more effective and

12    accountable government by providing its proprietary cloud-based software to more than 2,000

13    public agencies in 48 states who collectively oversee $10 trillion of public funds. OpenGov's

14    customers use its software to streamline budgeting, analyze revenues and expenses, measure

15    their performance, leverage open data to communicate with stakeholders, improve

16    accountability, and operate more effectively. As a cloud-based solution, OpenGov's software-

17    as-a-service (SaaS) software is easy to use and configure, can be frequently updated to add new

18    features with no incompatibility with prior releases, can be scaled as a customer's needs grow, is

19    highly available, and, as a subscription, priced to ensure customer value.

20             30. To expand its business and offer new and better solutions to serve its public sector

21    customers' needs, OpenGov developed a proprietary, confidential platform roll-up strategy to

22    acquire software companies from different sub-sectors of the cloud-based public sector software

23    solutions market and integrate them with OpenGov. In Apri12016, OpenGov acquired Ontodia,

24    the leading open-source provider of open data and performance management solutions.

25    OpenGov's next acquisition was in October 2017, when it acquired Peak Democracy, an online

26    civic engagement platform. During the first six months of 2018, OpenGov identified and

27    initiated negotiations with several software companies about combining with OpenGov.

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 1.              B.    GTY Holdings is a"Blank Check" Special Purpose Acquisition Company.

 2               31. In August 2016, a trio of former Accenture and EMC executives, William D.

 3      Green, Joseph M. Tucci and Harry L. You, founded GTY Holdings as a Special Purpose

 4      Acquisition Company ("SPAC").

 5               32.   A SPAC is a publicly-traded company that raises capital through an IPO, for the

 6      purpose of completing an acquisition, mer-ger, or other business combination with one or more

 7      existing private companies. The money raised through the IPO of the SPAC is held in an

 8      interest-bearing trust account until the SPAC identifies a merger or acquisition opportunity to

 9      pursue. If the SPAC does not effectuate a business combination within a specified time,

10      typically two years, then it automatically dissolves and the money it holds in trust is returned to

11      its public shareholders. If the SPAC does complete a shareholder approved combination using

12     essentially all of its IPO assets within the requisite time, which may be extended, the promoters

13     of the SPAC receive up to a 20% promoter's interest in the new combination, typically worth

14      tens or hundreds of millions of dollars for the promoters.

15               33.   Green, Tucci, and You established GTY Investors to act as the promoter

16     (sometimes referred to as the "sponsor") of GTY Holdings. Green, Tucci, and You are the

17      members and managers of GTY Investors. Through Defendant GTY Investors, Green, Tucci,

18     and You collectively hold an approximately seventeen percent promotional interest in GTY

19     Holdings.

20               34. In late October 2016, GTY Holdings completed an IPO, generating proceeds of

21     $552 million to use to effectuate its planned business combination. Under the terms of its

22     prospectus and articles of association, GTY Holdings had two years from the closing of its

23     IPO—until November 1, 2018—to complete an initial business combination having a fair market

24      value equal to at least 80% of its assets. In October 2018, GTY Holdings' shareholders

25     approved an extension to this deadline, giving GTY Holdings until May 1, 2019 to complete its

26     initial business combination.

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 1              C.    GTY Holdings Approaches OpenGov About a Potential Transaction.
 2              35. In Apri12017, Defendant You approached OpenGov to discuss a potential

 3     transaction involving GTY Holdings and OpenGov. At the time, the GTY Defendants' plan to

 4     effectuate a business combination was only conceptual. While the GTY Defendants were

 5     searching for opportunities in the "technology industry" generally, they had virtually no

 6     understanding or knowledge of OpenGov, or of the cloud-based public sector software solutions

 7     market that OpenGov had helped pioneer. The GTY Defendants did not know the leading

 8     companies in the market, who ran those companies, those companies' attributes, strengths and

 9     weaknesses, or if and how those companies could be integrated to create a platform of best-in-

10     class cloud-based solutions for public sector customers. The GTY Defendants similarly lacked

11     information regarding OpenGov's software products, financials, customers and customer

12     requirements, or business strategies. The GTY Defendants were simply looking for a good

13     business opportunity, and were trying to gather information and put something promising

14     together before time expired on their SPAC.

15              36. Claiming that they would use their publicly bank-rolled $550 million SPAC to

16     work with OpenGov to fulfill OpenGov's vision for a dominant cloud-based platform in the

17     public sector software market, the GTY Defendants induced OpenGov to disclose its proprietary,

18     confidential and trade secret information, tapped into OpenGov's extensive expertise and

19     knowledge of the cloud-based public sector software solutions market, and exploited OpenGov's

20     reputation and business relationships in that market to assemble a new business combination to

21     be financed by the GTY Holdings' SPAC.

22              D.    The GTY Defendants Agree to Use OpenGov's Confidential Information
                      Only in Connection with a Transaction with OpenGov.
23

24              37. On May 9, 2017, OpenGov and GTY Holdings entered into a Confidentiality

25    Agreement, a true and correct copy of which is attached hereto as Exhibit A. The

26    Confidentiality Agreement identifies GTY Holdings as the intended "Recipient" of confidential

27     information, and broadly defines "Confidential Information" to include "all information

28     conveyed by [OpenGov] or [OpenGov's] `Representatives"' to Recipient GTY Holdings in

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 1    "whatever form, whether written, electronic or oral." The Agreement protects as confidential
2     "all information conveyed by" OpenGov to GTY Holdings, but also specifically includes as

3     Confidential Information: (i) "all analyses, compilations, reports, forecasts, studies,

4     interpretations or other documents ... thctt contaiJi reflect or ctre based tcpoiz, in whole or part,

5     the information fitrnished to" GTY Holdings; (ii) "the existence of a possible transaction

6     involving [OpenGov] or discussions thereof, the identity of any parties involved in sttch possible

7     transctction, ctnd all other informcttion provided in connection therewith." (italics added).

 8              38.   GTY Holdings agreed to "retain in strict confidence all Confidential Information"

9     provided to them by OpenGov, and to use such Confidential Information "only in connection

10    with ... a Potential Transaction with [OpenGov]...."

11              E.    The GTY Defendants Engaged in a Scheme to 1Vlisappropriate OpenGov's
                      Proprietary Platform Roll-up Acquisition Strategy, Under the False Pretense
12                    of Creating a Business Combination with OpenGov at its Core.
13                    1.     OpenGov provides the GTY Defendants confidential, propriety, and
                             trade secret information under the Confidentiality Agreement.
14

15              39.   For more than a year after entering into the Confidentiality Agreement, from May

16    2017 through June 2018, the GTY Defendants milked OpenGov for confidential, propriety and

17     trade secret information regarding OpenGov's products, business plans, strategies, intelligence,

18     and insights regarding software solutions for the public sector market. The GTY Defendants

19     induced OpenGov to disclose its confidential information to the GTY Defendants under the false

20     pretense that the GTY Defendants would use GTY Holdings' SPAC funds to acquire OpenGov

21     for $225—$250 million, and would use the remainder of the SPAC funds to execute OpenGov's

22     proprietary platform roll-up acquisition strategy by acquiring additional, best-in-class companies

23     identified by OpenGov—companies that offered complimentary products and possessed other

24     attributes for successful integration with OpenGov. Defendant You repeatedly assured

25     OpenGov's CEO Bookman that OpenGov would be at the core of any business combination that

26     the GTY Defendants might consummate in the public sector software solutions market.

27              40.   In the early months of the parties' joint venture, OpenGov spent significant time

28     and resources educating the GTY Defendants about OpenGov, its products, financials, business

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 1    strategies, competitors, and the public sector software solutions market. During this period,
2     OpenGov's CEO Bookman participated in dozens of ineetings, telephone calls, and discussions

3     with the GTY Defendants, and provided numerous written materials, disclosing OpenGov's

4     confidential information, trade secrets, and proprietary business strategies.

5               41. Beginning in July 2017, in the first phase of the joint venture, OpenGov identified

6     several potential acquisition candidates that had already achieved revenue streams of a size that

 7    Defendant You had indicated would be sufficient for acquisition by a publicly held SPAC like

8     GTY Holdings. However, after discussions with OpenGov and GTY, these companies

9     expressed a lack of interest in being acquired by a SPAC.

10              42. By January 2018, with half the time for GTY Holdings' to complete a business

11    combination having expired, Defendant You urged OpenGov's CEO Bookman to "hustle" and

12    identify smaller companies who might be more open to consolidating with OpenGov and being

13    acquired by GTY Holdings' SPAC. Defendant You asked Bookman to make overtures to these

14    companies on behalf of the joint venture, and urged Bookman to sell them on the concept by

15    assuring them that OpenGov would support and partner with them, that Bookman would be the

16    CEO of the merged enterprise, and that GTY Holdings would provide the capital for the

17    transaction. Defendant You represented that, if the companies were interested in pursuing the

18    transaction, Boolcman should then introduce them to the GTY Defendants to "handle the deal

19    stuff."

20              43.    To initiate this next phase of the joint venture, on March 28, 2018, OpenGov sent

21    the GTY Defendants confidential materials containing trade secret information that described in

22    detail the proprietary platform roll-up acquisition strategy that OpenGov had developed. The

23    cover email from OpenGov to the GTY Defendants explicitly designated these materials

24    confidential in all-caps text, stating: "These materials are CONFIDENTIAL of course." The

25    materials included: (i) a PowerPoint slide deck disclosing OpenGov's plans to develop an

26    "OpenGov Platform [that] Will Lead Industry Consolidation;" (ii) a five-page "Corp Dev

27    Strategy" memo revealing OpenGov's confidential analysis of the dynamics of the cloud-based

28    public sector software solutions market, and detailing OpenGov's proprietary "platform play;"


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 1.    and (iii) a confidential summary of OpenGov's financials and performance metrics from fiscal

 2     year 2015 through fiscal year 2018.

 3               44. - The confidential materials provided by OpenGov spelled-out in detail OpenGov's

 4     platform roll-up acquisition strategy. The "Corp Dev Strategy" memo, for example, described

 5     OpenGov's "rollup strategy" to acquire companies in "three distinct `clouds"'—i.e., cloud-based

 6     software companies focused on different sub-sectors of the public-sector technology

 7     marketplace—with "[a]dditional `clouds' [to] be added." Those "clouds" included a"Budget

 8     Cloud," "ERP + Performance Cloud," "Transparency Cloud," "Regulatory Cloud," "Public

 9     Safety Cloud," and a"Parks Cloud."

10               45. OpenGov's confidential memo, in turn, identified from among hundreds of

11     companies offering public sector software a few specific "potential acquisition targets" in each

12     cloud, and how each target company "fit into the OpenGov `clouds' framework." For example,

13     Questica and Sherpa—two of the companies the GTY Defendants subsequently announced they

14     were acquiring—are both listed in the Budget Cloud, with descriptions of their estimated size

15     and revenues, and an analysis of how and why they fit into OpenGov's platform roll-up

16     acquisition strategy. Similarly, Open Counter is listed in the "Regulatory Cloud," with

17     OpenGov's analysis of how it would fit into the roll-up strategy.

18               46. In mid-Apri12018, OpenGov identified to Defendant You, and then approached, a

19     fourth company that it desired to acquire and add to the OpenGov platform—eCivis, a purveyor

20     of grants management and cost allocation software for the public sector.

21               47. On May 18, 2018, OpenGov's CEO Bookman flew to Austin, Texas to meet with

22     Defendant Rohleder, a GTY Holdings director whom Defendant You had identified as his likely

23     choice to serve as Chairman of the Board of the consolidated company. Defendant You

24     requested that Boolcman meet with Rohleder to orient him and present and explain OpenGov's

25     proprietary platform roll-up acquisition strategy. Like the other GTY Defendants, before

26     meeting with Bookman, Defendant Rohleder did not have OpenGov's specialized knowledge of

27     the state and local government cloud-based public sector software solutions market or of

28     OpenGov's approach to creating a best-in-class suite of cloud-based tools for that market.

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  1                      48.                   Bookman and Defendant Rohleder met for approximately 2 hours, with Defendant
 ~          You participating by telephone throughout. During the meeting, Bookman described in greater

 3          detail to Rohleder and You the specifics of OpenGov's market analysis, its roll-up strategy, as

 4          well as the rationale for acquiring the specific companies that OpenGov had identified in the

 5          confidential materials it had provided to GTY in late March. OpenGov retained a photograph of

 6          a whiteboard that its CEO Bookman used during the meeting to organize some of the

 7          information that he imparted during the meeting, which names four of the five companies that

 8          OpenGov had previously identified and that GTY has since announced it intends to acquire:

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24                       49.               During the May 18 meeting, Bookman also identified and discussed with Rohleder
25          the fifth company that he had previously identified and introduced to the GTY Defendants—
26      eCivis. After the meeting concluded, Rohleder drove Bookman to the airport and re-affirmed
27      that the parties' joint venture to execute OpenGov's platform roll-up acquisition strategy was a
28 I    CG     fD
             go.

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 1             50. Following the May 18, 2018 meeting, Bookman and Defendant You exchanged a
 2    series of text messages about the transaction. Bookman disclosed additional detail about
 3    OpenGov's plan to architect a cloud strategy in the "permitting and regulatory space," the
 4    subsector in which its acquisition target Open Counter was doing business. You responded
 5    enthusiastically, and reconfirmed in one of his text messages that the newly combined company
 6    would be managed by Bookman, with OpenGov directors sitting on its board.

 7             51. Just one week later, on May 25, 2018, You, Rohleder, and the GTY Defendants'
 8    bankers at Citibank traveled to California for an in-person meeting at OpenGov's Redwood City

 9    headquarters, with the GTY Defendants' attorneys participating telephonically. During this

10    meeting, OpenGov presented information regarding its financial performance and the parties

11    continued to discuss the plan for executing OpenGov's platform acquisition strategy.

12             52. Following this meeting, OpenGov put together a virtual "data room" of OpenGov

13    confidential information to which it provided access to the GTY Defendants, their bankers, and

14    their lawyers. The data room included, among other things, a 36-page confidential and

15    proprietary presentation detailing OpenGov's trade secret strategy to "build[] the dominant

16    cloud-based software platform" in the public sector software market "through both organic

17    growth and a roll-up of the top entei-prise SaaS companies in the space." The presentation

18    explained that the public sector software market was at a"[o]nce-in-a-[g]eneration [i]nflection

19    [p]oint," presenting the ideal market conditions to execute OpenGov's confidential and

20    proprietary acquisition strategy. Like OpenGov's early-March 2018 memo, this confidential

21    presentation identified many of the same acquisition targets that the GTY Defendants

22    subsequently entered into agreements to acquire, including Questica, Sherpa, Open Counter, and

23    Bonfire.

24             53. Records show that the GTY Defendants' bankers at Citibank downloaded

25    OpenGov's confidential information from the data room, including OpenGov's presentation

26    detailing its proprietary platform roll-up acquisition strategy. OpenGov has sent a written

27    request to Citibank to return or destroy OpenGov's confidential information, but OpenGov has

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 1     received no response or assurances from Citibank or the GTY Defendants that OpenGov's
 2    confidential information has been deleted.

 3              54.   On May 27, 2018, OpenGov's CEO Bookman identified and introduced Defendant

 4    You to the CEO of a sixth company that was part of OpenGov's platform roll-up acquisition

 5    strategy—CityBase, Inc, a developer of technology, payment and communication channels

 6    software, and an aggregator of operational data.

 7                    2.     OpenGov diligently executes on, and includes GTY Holdings as the
                             financier of, OpenGov's proprietary platform r.oll-up acquisition
 8                           strategy.
 9              55.   From March through June 2018, OpenGov expended considerable effort and

10     committed substantial time and expenditures to execute OpenGov's part of the joint venture.

11              56.   After selecting the acquisition candidates for OpenGov's platform roll-up

12     acquisition strategy and making preliminary overtures himself, OpenGov's CEO Bookman

13     personally introduced the GTY Defendants to executives of five of the six acquisition targets

14     that GTY Holdings subsequently announced it was going to acquire for itself:

15                    i)     March 12, 2018: Bookman introduced the GTY Defendants to Craig Ross,

16    the Chief Revenue Officer of Questica, an acquisition target providing software in the budget

17    sector.

18                    ii)    April 15, 2018: Bookman introduced the GTY Defendants to James Ha, the

19    CEO of eCivis, an acquisition target offering cloud-based software in the grants management

20    sector.

21                    iii)   Apri127, 2018: Bookman introduced the GTY Defendants to Corry Flatt,

22    the CEO of Bonfire, an acquisition providing cloud-based software in the government

23    procurement sector.

24                    iv)    May 14, 2018: Bookman introduced the GTY Defendants to Joel

25    Mahoney, the CEO of OpenCounter, an acquisition target providing a front-end permitting

26    system in the government regulatory sector.

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 1                   v)     May 27, 2018: Bookman introduced the GTY Defendants to Mike Duffy,
 2    the CEO of CityBase, an acquisition target providing utility billing and payment processing

 3    software in the government regulatory sector.

 4             57. In addition, in May 2018, OpenGov CEO Bookman engaged in discussions to

 5     negotiate a transaction for OpenGov to acquire Sherpa, an acquisition target providing software

 6    in the budget sector. OpenGov had planned to acquire Sherpa before the business combination

 7    with GTY Holdings, and then, when the GTY business combination was completed, GTY

 8    Holdings would acquire OpenGov, which would include Sherpa's products. But, after the GTY

 9    Defendants cut out OpenGov, Sherpa broke-off negotiations with OpenGov. Unbeknownst to

10    OpenGov, the GTY Defendants had approached Sherpa directly to negotiate an acquisition of

11    Sherpa by GTY Holdings. The GTY Defendants subsequently announced that GTY Holdings

12    intends to acquire Sherpa.

13             58. In reliance on the GTY Defendants' repeated representations that OpenGov would

14    be the core of GTY Holdings' planned business combination, OpenGov worked diligently to

15    ready itself for the intended business combination. Among other things, OpenGov hired the

16    Connor Group to perform extensive pre-audit work, retained Ellenoff Grossman & Shole as

17    outside counsel specializing in SPAC transactions to assist OpenGov with the contemplated

18    business combination, and engaged PwC to perform a formal audit. GTY subsequently hired the

19    exact same audit group and partner at PwC that OpenGov had retained. During this period,

20    Bookman was in regular—sometimes daily, or even hourly—contact with Defendant You to

21    discuss OpenGov's progress on executing its platform roll-up acquisition strategy, and to

22    advance the negotiations between the GTY Defendants, OpenGov, and the target companies.

23                   3.     The GTY Defendants promise to acquire OpenGov and to execute the
                            platform roll-up acquisition strategy.
24

25             59. Throughout this period, the GTY Defendants repeatedly represented that OpenGov

26    would be the centerpiece of the parties' contemplated business combination—which the GTY

27    Defendants claimed would be worth over $1 billion on day one—and that Bookman would be

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 1     the CEO of the combined company, with OpenGov's directors to serve on the board of the new
 2    combined company.

 3              60. On Apri123, 2018, the GTY Defendants sent OpenGov a draft letter of intent to

4     acquire OpenGov for $225 million in stock. The letter of intent described that the GTY

 5    Defendants' acquisition of OpenGov was part of OpenGov's "Roll-Up Strategy," and that the

6     "parties"—i.e., the GTY Defendants and OpenGov—intended "to enter into letters of intent with

 7     target companies" to be acquired "simultaneous with the Closing of the merger of GTY with

 8    [OpenGov] ."

 9              61. Two days later, Defendant You confirmed to one of OpenGov's directors during a

10    phone call that the GTY Defendants had been collaborating with OpenGov to find "companies to

11    combine with, to make a great initial company we'd be taking public through the [GTY

12    Holdings] SPAC." These were the companies that OpenGov had identified as the targets of

13    OpenGov's proprietary platform roll-up acquisition strategy and had disclosed to the GTY

14    Defendants in confidence as part of their joint venture. That same day, Defendant You sent a

15    text message to Bookman reporting that You "[h]ad a good call with" OpenGov's board

16    member, and advising that Joe Tucci, GTY's co-founder, co-chairman, and co-CEO, would be

17    talking with another OpenGov board member soon.

18              62. On May 3, 2018, Defendant You informed Bookman that the GTY Defendants

19     were preparing to send letters of intent to the "other targets" OpenGov had identified, and that

20    the GTY Defendants were aiming to complete the deal by May 18, 2018; he urged "let's try to

21    wrap this up by 5/18, if possible.... Onward!"

22              63. Defendant You also induced OpenGov to initiate a comprehensive audit of its

23    business to prepare for the contemplated acquisition, noting that this was a"gating item" to the

24    contemplated transaction. In reliance on GTY's assurance that it would acquire OpenGov and

25     provide capital for the additional platform roll-up acquisitions, OpenGov spent considerable

26    time, effort, and resources preparing for and launching a comprehensive audit of OpenGov,

27     including retaining PwC to conduct the audit, and hiring an experienced Chief Financial Officer

28    to ready itself to be taken public.

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  1                64.   On May 6, 2018, Defendant You sent an email to Bookman crowing that, after the
  2       GTY Holdings transaction closed, "[w]e will be worth over a billion with cash on Day 1!"

  3                65.   By the end of May 2018, the GTY Defendants and OpenGov were in contact
  4       nearly every day to discuss the details and exectition of OpenGov's platform roll-up acquisition

  5      strategy. On May 30, 2018, for example, Defendant You sent a series of text messages

  6      entreating Bookman to personally contact the CEO of Bonfire to help finalize the acquisition of

  7      Bonfire per OpenGov's sttategy. Defendant You urged Bookman to tell Bonfire's CEO that "it

  8      will be great to be partners," "you [Bookman] will help him turbocharge his business,"

  9      "[OpenGov's] directors and GTY guys are good guys," "this is a truly unique opportunity,"

10       "time is of essence," and "you [Bookman] [will be] the CEO [of the combined business]!"

11                 66.   Just two days later, on June l, 2018, the GTY Defendants sent OpenGov a revised

12       letter of intent increasing the acquisition price to $250 million in cash and stock. In this letter of

13       intent, the GTY Defendants represented that they were "very impressed with [OpenGov's]

14       leadership, its market position and its attractive growth trajectory," and wanted to acquire

15       OpenGov "to build a world-class, market-leading company." Again, the letter of intent stated

16 I'    explicitly that the GTY Defendants' acquisition of OpenGov was part of the "Roll-Up Strategy,"

17       and that the GTY Defendants and OpenGov intended "to enter into letters of intent with other

18       target companies" to be acquired "simultaneously with the Closing of the Transaction" between

19       GTY Holdings and OpenGov.

20                67.    OpenGov continued to collaborate with the GTY Defendants on a nearly daily

21       basis throughout early-June of 2018 to effectuate OpenGov's platform roll-up acquisition plan.
22                F.     The GTY Defendants Go Behind OpenGov's Back, Hijack OpenGov's
                         Platform Roll-Up Acquisition Plan, and Execute Agreements to Acquire the
23                       Companies Identified by OpenGov to Form a New GTY Combination to
                         Compete with OpenGov.
24

25                68.    In mid-June 2018—after more than a year of milking OpenGov for its proprietary

26       confidential and trade secret information and taking advantage of that information to learn

27       OpenGov's strategy and gain an entree to the companies targeted by OpenGov—the GTY

'28      Defendants began to duck OpenGov's calls, put off ineetings, and delay further discussions. But

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 1     the GTY Defendants continued to lead-on OpenGov, making excuses for their failure to respond

 2     to OpenGov's inquiries. Defendant You claimed to be "off the grid" on vacation from June 15,

 3     2018 through June 25, 2018. In reality, Defendant You and the other GTY Defendants were

 4     buying time to negotiate with OpenGov's acquisition targets behind OpenGov's back, and

 5     without telling OpenGov or the acquisition targets that the GTY Defendants did not intend to

 6     complete the business combination with OpenGov. Only when confronted by one of OpenGov's

 7     directors on or about July 1, 2018, did Defendant You finally admit that the GTY Defendants

 8     were no longer planning to do business with OpenGov.

 9               69. On September 12, 2018, the GTY Defendants announced that GTY Holdings had

10     entered into definitive agreements to acquire, for a total acquisition price of $365 million plus

11     aggregate earn-out consideration of up to $132 million, six of the companies that OpenGov had

12     identified when disclosing its proprietary roll-up acquisition strategy and to which it had

13     introduced the GTY Defendants—Bonfire, CityBase, eCivis, Open Counter, Questica, and

14     Sherpa.

15              70. On information and belief, shortly before the GTY Defendants announced their

16     business combination publicly, they held an "unveiling dinner" in New York City, where they

17     revealed the identity of their six acquisition targets to executives of those six companies, among

18     others. Before this unveiling dinner, on information and belief, the GTY Defendants told those

19     target companies not to talk to others about the potential transaction. On information and belief,

20     at this unveiling dinner, several executives of the six acquired companies were shocked when

21     they learned that OpenGov was not included in the business combination, since OpenGov had

22     introduced five of those companies to the GTY Defendants and OpenGov's involvement in the

23     transaction played an integral role in those companies' decisions to complete the transaction with

24     GTY Holdings.

25              71. In their public announcement of the transaction, the GTY Defendants made no

26     mention of OpenGov and failed to acknowledge that GTY Holdings' business combination was

27     the product of OpenGov's intellectual property and hard work. Instead, the GTY Defendants re-

28    wrote history and credited themselves for the acquisition strategy they had brazenly

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 1     misappropriated from OpenGov. For example, the GTY Defendants claimed in their press

 2     release that, "[a]fter an extensive search process, the spoJzsors [GTY Investors] elected-to bring

 3     together best-in-class companies to establish an integrated software solution in the highly

 4     fragmented and underpenetrated public sector market." And, in an investor call on the day the

 5     transaction was announced, GTY Holdings' Co-Chairman and Co-CEO Joe Tucci claimed that

 6    "vve are creating a new SaaS company for the North American state and local government

 7     market which will serve five of the fastest growing segments in the public sector."

 8              72. With the clock running out on their SPAC, the GTY Defendants blatantly stole

 9     OpenGov's confidential and trade secret information to execute GTY Holdings' business

10     combination—as the GTY Defendants' own description of their transaction makes clear. In their

11     press release, the GTY Defendants described acquiring six companies to roll-up into one new

12     large "SaaS/Cloud" company to create a"software platform for state and local governments."

13     This is, of course, the same platform roll-up acquisition strategy that OpenGov had developed

14     and shared with the GTY Defendants under the Confidentiality Agreement. The GTY

15     Defendants also misappropriated OpenGov's "clouds framework" for acquiring software

16     companies in different sub-sectors of the public sector software marketplace. As the GTY

17     Defendants explained in an investor call, they acquired companies in five "segments in the

18     public sector market." These "segments" and the companies the GTY Defendants acquired in

19     those segments, are the same as those identified in the confidential, proprietary and trade secret

20     materials OpenGov provided to the GTY Defendants. Indeed, every single company the GTY

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 1       Defendants have announced they will acquire was identified by OpenGov, as shown in the

 2       following table:

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                                   Regulatory                                                        ~
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         Sherpa                    Buclget                                                           S/
16

17                73.   The GTY Defendants also lifted literally and liberally from OpenGov's proprietary '

18       platform roll-up acquisition strategy, as the following table comparing OpenGov's confidential

19      strategy memo to the GTY Defendants' public statements shows:

20       O enGov Confidential Strate y Memo                 GTY Defendants' Business Combination
         Create a"dominant cloud-based software             "[W]e are creating a new SaaS company for
21
         platform in the state and local government         the North American state and local
22       market, including through a rollup strategy."      government market.... [A] truly unique cloud
                                                            platform to address the needs of state and
23                                                          local overnments." (GTY Scri t at 1.)
         "This is a multi-billion dollar opportunity to     The state and local government software
24       capitalize on a once-in-a-generation inflection    market "is at an inflection point of accelerated
         point."                                            digital transformation," with software
25
                                                            expenditures "estimated to range from $30-
26 I                                                        $40bn annuall ." (GTY Scri t at 1-2.)
         "[G]overnments are starting the shift from         "Public sector software is anchored in legacy
27       outdated, on-premise legacy transaction            systems." (GTY PP at 22.) "This market [is]
         processing systems towards modern, flexible,       undergoing an incredible digital
28       Software-as-a-Service offerin s."                  transformation, and ... is 'ust entering the
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 1                                                        SaaS/Cloud migration stage." (GTY Script at
 2                                                        2•)
       "Government buyers want reliable technology        "[W]e have assembled a collection of modern,
 3     partners that address critical business            SaaS products that directly address significant
       processes and pain points."                        `Pain Points' of state and local governments."
 4                                                        (GTY Scri t at 1.)
       "This creates a tremendous opportunity to          "We have upgraded several of our products ...
 5     build a SaaS model predicated on very high         for ease of upsell.... The cross-selling synergy
       renewal rates coupled with high rates of upsell    potential was a significant component of our
 6
       and cross-sell."                                   business thesis." (GTY Scri t at 9-10.)
 7     "The historic dynamics of the government           "Given the fragmentation in the state and
       software market have led to highly                 local government market, we see expansive
 8     fragmented, regional offerings.... This pattern    scale achievable through ... accretive
       has been broken through acquisitive roll-up        acquisitions." (GTY Press Release at 2.)
 9     strate ies."
10     "Our offering is packaged in three distinct        Our company "will serve five of the fastest
       `clouds' ... [a]dditional `clouds' will also be    growing segments in the public sector
11     added."                                            market." (GTY Scri t at 1.)
       These clouds include "Budgeting,"                  These five segments are: "payments,
12     "Permitting/Regulatory," "Procurement,"            budgeting, grants management, permitting,
       "Civic Management," "ERP + Performance,"           procurement." (GTY Script at 3.)
13
       "Transparency," and "Parks"
14              74.    According to the GTY Defendants, the transaction is expected to close in "early
15   2019," with GTY Holdings forming new entities, New GTY and GTY Merger Sub, to effectuate
16   the transaction. Defendant Rohleder will be named the Chairman and Chief Executive Officer of
17   New GTY, and Defendant You will become New GTY's Chief Financial Officer.
18
                                         V.     CAUSES OF ACTION
19
                                         FIRST CAUSE OF ACTION
20                                       BREACH OF CONTRACT
                                           (Against GTY Holdings)
21
                 75.   OpenGov incorporates the allegations of paragraphs 1 through 74 as if fully set
22
       forth herein.
23
                 76.   OpenGov and GTY Holdings entered into a Confidentiality Agreement on May 9,
24
       2017, under which GTY Holdings, the "Recipient" of information, agreed to retain in strict
25
       confidence all confidential information provided by OpenGov, including the identities of any
26
       other parties identified as acquisition candidates for a potential transaction with OpenGov and all
27
       other information provided by OpenGov in connection therewith, and to use such confidential
28
       information only in connection with a potential transaction with OpenGov.
                                                        22
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 1             77. Pursuant to the Agreement, and relying upon its protections, OpenGov performed
 ?     its obligations under the Confidentiality Agreement by providing to the GTY Defendants

 3    OpenGov's proprietary and confidential information about its business, the cloud-based public
 4    sector software market, its platform roll-up acquisition strategy, and the identity of and

 5    introductions to other acquisition candidates who would be parties to a potential business

 6    combination transaction financed by GTY Holdings with OpenGov at its core, and OpenGov

 7    worlced with those companies and with GTY Holdings to effectuate a potential transaction

 8    involving OpenGov and GTY Holdings.

 9             78. GTY Holdings breached the Confidentiality Agreement by misusing the

10    confidential information it obtained from OpenGov. As the GTY Defendants were only

11    permitted to use OpenGov's confidential information in connection with a potential transaction

12    with OpenGov, GTY Holdings' use for its own purposes of OpenGov's proprietary and

13    confidential market analyses, business strategies, company and product details, and the identities

14    of the other, acquisition candidate companies who were to be parties to the transaction with

15    OpenGov, constitutes a breach of the Confidentiality Agreement.

16             79. GTY Holdings' breach has damaged OpenGov in an amount to be determined, but

17    in excess of this Court's jurisdictional amount. OpenGov also is entitled to damages for the

18    actual loss caused to OpenGov by GTY Holdings' breach of the Confidentiality Agreement,

19    and/or for any unjust enrichment GTY Holdings has enjoyed, or may in the future enjoy, that has

20    not been taken into account in computing damages for OpenGov's actual loss.

21             80. OpenGov has no adequate remedy at law for the present and threatened future

22    injuries being caused by GTY Holdings' breach of the Confidentiality Agreement. GTY

23    Holdings' breach of the Confidentiality Agreement and wrongful acquisition of OpenGov's

24    confidential and proprietary infot-mation, as described herein, threatens to allow the GTY

25    Defendants unlawfully to establish a competing company using intellectual property the GTY

26    Defendants have not developed, and to interfere with OpenGov's relationships with its

27 ' customers. OpenGov's injuries cannot adequately be compensated by money damages. Indeed,

28    GTY Holdings specifically "acknowledge[d] and agree[d] that money damages may not be a

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 1     sufficient remedy for any breach of [the] Agreement and that, as a remedy for any such brief,
 2     [OpenGov] may be entitled to specific performance, injunctive, and/or other equitable relief."
 3     OpenGov, therefore, is entitled to preliminary and permanent injunctive relief.

 4                                SECOND CAUSE OF ACTION
 5                             INDUCING BREACH OF CONTRACT
                (Against New GTY, GTY Merger Sub, GTY Investors, You and Rohleder)
 6             81.    OpenGov incorporates the allegations of paragraphs 1 through 80 as if fully set
 7    forth herein.
 8             82.    As stated above, OpenGov and GTY Holdings are parties to a Confidentiality
 9    Agreement with valid and enforceable terms.
10             83.    New GTY, GTY 1Vlerger Sub, GTY Investors, You and Rohleder knew of the
11
      Confidentiality Agreement between OpenGov and GTY Holdings. In fact, Defendant You
12    executed that agreement on behalf of GTY Holdings, is a member and manager of GTY
13
      Investors, which is the sponsor of GTY Holdings, and is the President and Chief Financial
14
      Officer of New GTY and GTY Merger Sub. Rohleder is a director of GTY Holdings, and will
15
      be the Chairman and Chief Executive Officer of New GTY.
16             84.    New GTY, GTY Merger Sub, GTY Investors, You and Rohleder have
17
      intentionally caused, and knowingly continue to cause, GTY Holdings to breach the
18
      Confidentiality Agreement with OpenGov by misusing OpenGov's confidential, proprietary, and
19
      trade secret information in violation of that Agreement.
20             85.    The intentional and detrimental misconduct of New GTY, GTY Merger Sub, GTY
21
      Investors, You and Rohleder has been a substantial factor in causing—and continues to be a
22
      substantial cause of—damage and severe and irreparable harm to OpenGov. Such wrongdoing
23
      gives rise to this separate cause of action for inducing breach of contract, for which OpenGov
24
      seeks both damages in an amount to be determined at trial, and preliminary and permanent
25    injunctive relief.
26             86.    New GTY's, GTY Merger Sub's, GTY Investors', You's and Rohleder's
27
      purposeful disregard of OpenGov's contractual rights under the Confidentiality Agreement was
28

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 1    and is oppressive and was and is being done willfully, wantonly, and maliciously. As a result of

 2    such conduct, OpenGov is entitled to an award of punitive damages.

 3                                     THIRD CAUSE OF ACTION
 4                                               FRAUD
                                         (Against All Defendants)
 5             87.    OpenGov incorporates the allegations of paragraphs 1 through 86 as if fully set

 6    forth herein.

 7             88. As previously set forth herein, the GTY Defendants induced OpenGov to disclose

 8    its proprietary platfoi-m roll-up acquisition strategy and related confidential information to the
 9    GTY Defendants based on the GTY Defendants' false representations that any transaction GTY
10    Holdings completed in the public sector software market would include and have OpenGov at its
11
      core, and material omission that the GTY Defendants did not intend to complete the transaction
12    with OpenGov.
13             89. The GTY Defendants made numerous intentional misrepresentations of fact and
14
      material omissions, including, among other things, that: (1) the GTY Defendants would use
15
      GTY Holdings' SPAC trust funds to acquire OpenGov for $225—$250 million, with remaining
16    fiinds in the SPAC to be used to finance OpenGov's platform roll-up acquisition strategy; (2)
17    after the parties executed OpenGov's strategy to create a vertically-integrated, cloud-based
18
      public sector solutions software business combination, OpenGov's CEO Zachary Bookman
19    would become the CEO of the new combined company; (3) this new combined company would
20
      be worth over $1 billion in cash when it was formed; and (4) OpenGov's Board directors would
21
      serve on the new combined company's Board of Directors. In truth and fact, and unbeknownst
22
      to OperiGov, the GTY Defendants had decided to misappropriate OpenGov's platform roll-up
23    acquisition strategy and confidential information for themselves.
24
               90. The GTY Defendants knew that these misrepresentations were false at the time
25    they were made, and they knew that they were omitting and concealing from OpenGov material
26    facts that they were obligated to disclose.
27
               91. OpenGov justifiably relied on the GTY Defendants' misrepresentations, and relied
28
      upon the absence of omitted facts necessary to•make the facts represented not misleading. As
                                                        25
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 1      previously set forth herein, in reliance on the GTY Defendants' misrepresentations and
 2      omissions, OpenGov, among other things: (1) disclosed the details of its confidential and

 3      proprietary roll-up acquisition strategy to the GTY Defendants, including the identities of and

 4      rationale for acquiring various acquisition target companies; (2) devoted significant time and

 5      resources working in a joint venture with the GTY Defendants to execute OpenGov's roll-up

 6      acquisition strategy; (3) used its CEO Zachary Bookman's connections and reputation to begin

 7      acquisition discussions with the targets that OpenGov had identified, and then introduced

 8      OpenGov's contacts at those companies to the GTY Defendants; (4) provided the GTY

 9      Defendants with OpenGov's confidential financial and business information; and (5) worked

10      diligently to prepare OpenGov for the intended business combination, including by engaging an

11      accounting firm to conduct a comprehensive audit, investing in pre-audit work, and retaining

12      outside transactional counsel.

13               92.   Had OpenGov known of the falsity of the GTY Defendants' representations, and

14      the material facts that the GTY Defendants wrongfully concealed, OpenGov would not have

15      taken the actions descf ibed above.

16               93.   As a direct and proximate result of the GTY Defendants' misconduct, OpenGov

17'     has been damaged in an amount to be determined, but in excess of this Court's jurisdictional

18      amount.

19               94.   OpenGov is also entitled to an award of punitive damages for the GTY Defendants

20      intentionally fraudulent and deceitful conduct.

21               95.   OpenGov has no adequate remedy at law for the present and threatened future

22      injuries being caused by the GTY Defendants' fraudulent representations and omissions.

23      OpenGov, therefore, is entitled to preliminary and permanent injunctive relief.

24                              FOURTH CAUSE OF ACTION
                 TRADE SECRET MISAPPROPRIATION—Cal. Civil Code §§ 3426, et seq.)
25
                                   (Against All Defendants)
26               96.   OpenGov incorporates the allegations of paragraphs 1 through 95 as if fully set
27     forth herein.
28

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 1              97.   OpenGov owns and possesses certain confidential and proprietary information as

 2     alleged above, including but not limited to OpenGov's platform roll-up acquisition strategy.

 3     This information was a trade secret at the time it was misappropriated by the GTY Defendants.

 4              98.   OpenGov's trade secrets derive independent economic value, actual or potential,

 5     from not being generally known to the public, or to other entities and persons such as the GTY

 6     Defendants, who can obtain value from their disclosure or use. OpenGov's knowledge and use

 7     of its trade secrets provided OpenGov with competitive advantages over those who did not know

 8     them. OpenGov's trade secrets were not matters either of general knowledge, nor of special

 9     knowledge to persons who were skilled in the cloud-based public sector software technology

10     field.

11              99. OpenGov has made, and continues to make, efforts that are reasonable under the

12     circumstances to protect the secrecy of its trade secrets by, among other things, requiring all

13     recipients of OpenGov's trade secret information, including the GTY Defendants, to enter into

14     written confidentiality agreements, by designating certain documents containing trade secret

15     information as "confidential," and by restricting access to trade secret information to employees

16     who need to know them, and to customers, or joint venturers, or licensees only upon their

17     agreement to keep such information confidential.

18              100. The GTY Defendants have misappropriated and threaten to further misappropriate

19     OpenGov's trade secrets, as described herein.

20              101. The GTY Defendants' misappropriation of OpenGov's trade secrets has damaged

21     OpenGov in an amount to be determined, but in excess of this Court's jurisdictional amount.

22     OpenGov is entitled to damages for the actual loss caused to OpenGov by the GTY Defendants'

23     misappropriation of OpenGov's trade secrets, and/or for any unjust enrichment the GTY

24     Defendants have enjoyed by such misappropriation that has not been taken into account in

25 ' computing damages for OpenGov's actual loss.

26              102. The GTY Defendants' breach has damaged OpenGov in an amount to be

27     determined, but in excess of this Court's jurisdictional amount.

28

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 1.               103. OpenGov has no adequate remedy at law for the present and threatened future
 2      injuries being caused by the GTY Defendants. The GTY Defendants' continuing

 3      misappropriation of OpenGov's trade secrets, as described herein, threatens to allow the GTY

 4      Defendants unlawfully to establish a competing company usirlg intellectual property the GTY

 5      Defendants have not developed, and to intei-fere with OpenGov's relationships with its

 6      customers. OpenGov's injuries cannot adequately be compensated by money damages.

 7      OpenGov, therefore, is entitled to preliminary and permanent injunctive relief.

 8                104. The GTY Defendants' misappropriation of OpenGov's trade secrets was willful

 9      and malicious. California Civil Code Sections 3426.3(c) and 3426.4 thus entitle OpenGov to an

10      award of exemplary damages equal to twice the actual damages caused by the GTY Defendants'

11      misappropriation, as well as OpenGov's reasonable attorney's fees.

12                                           PRAYER FOR RELIEF

13               For all of these reasons, OpenGov prays for the following relief:

14               1.     A judgment in favor of OpenGov on all causes of action alleged herein;

15               2.     Monetary damages, in an amount according to proof;

16               3.     A constructive trust over OpenGov's interest in New GTY and GTY Merger Sub,

17      or over their increased value due to the business combination, or over their profits;

18                4.    Disgorgement of the GTY Defendants' unjust enrichment in an amount according

19      to proof;

20               5      Exemplary and punitive damages;

21                6.    Attorneys' fees, costs, and expenses incurred by OpenGov;

22               7.     Preliminary and permanent injunctive relief;

23               8.     Pre judgment and post-judgment interest;

24               9.     All other relief that the Court deems just and proper.

25

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 1                                                VI,    JURY TRIALDEMANDED
 2                         Open0ov demands a trial by jLify of all issues so triable.

           bated.- November 20, 2019                                           KEKER, VAN NEST & PETER-S LLP

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                                                                           JOI
                                                                           '      KEKER
                                                                           JEF  Y R. CMANIN
                                                                           NICHOLAS S. GOLDBtRG,
 7
                                                                               Attoiney§ for PI-aintiff-
 .8                                                                            Ql?EWQV, INC.


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             EXHIBIT A
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                             CON)F'pDENT1[ALITY AGREi EMEN'P

        This Confidentiality Agreement (this "Agreement") dated as of May 9th, 2017(the
"Effective Date"), shall govern the conditions under which we ("Recipient" or "we" or "us" or
"our") have agreed to discuss a possible transaction (the "Potential Transaction") with OpenGov,
Inc. and/or one or more of its affiliates and/or subsidiaries (collectively, the "Company").
Company and Recipient may be referred to herein individually as a"Party" or collectively as the.
"Parties."

    1. As a condition to such discussions, we agree to keep strictly confidential all information
       conveyed by the Company or the Company's "Representatives" (as defined below) to us
       or such information conveyed in connection with the Potential Transaction by us or on our
       behal.f to our "Representatives" (as defined below), furnished on or after the Effective Date,
       and in whatever form, whether written, electronic or oral, hereinafter referred to as the
       "Confidential Information," and to refrain from using the same except as provided below.
       Notwithstanding the foregoing, any Confidential Information disclosed orally by the
       Company or its Representatives must be confirmed in writing as Confidential Information
       to the Recipierit within thirty (30) days from the date of its initial oral disclosure or it shall
       not be subject'to the terms of this Agreement. A Party's "Representatives" shall mean a11
       of the Party's subsidiaries and affiliates and its and their respective officers, directors,
       employees, members, partners, potential debt financing sources, potential coinvestors,
       attorneys, accountants, consultants, agents and fmancial advisors. Recipient's
       "Representatives" shall be fiirther defined to inean only those of its Representatives to
       whom the Confidential Information hereafter is provided. For purposes of this Agreement,
       "Confidential i Information" shall also include (i) all analyses, compilations, reports,
       forecasts, studies, interpretations or other documents prepared by us. or our Representatives
       in connection with our evaluation of the Potential Transaction (including, without
       limitation, those that contain, reflect or are based upon, in whole or part, the information
       furnished to us or our Representatives pursuant hereto and only to the extent such
       documents contain Confidential Infonnation), (ii) the existence of a possible transaction
       involving the Company or discussions thereof, the identity of any parties involved in such
       possible transaction, and all other information provided in connection therewith, including
       without.limitation that we are in discussions or negotiations with the Company as to the
       Potential Transaction and that the Company is consider'ing tlie Potential Transaction or any
       other potentia'1 investment in the Company by us or any other party, and (iii) that we have,
       or any other party (including any of our Representatives) has, received or will receive any
       Confidential information.

    2. This Agreement will confirm our agreement to retain in strict confidence all C.onfidential
       Information. The term "Confidential Information" shall not include information that (i) is
       or becomes available
                     ~      to us or our Represeiitatives on a non-conf dential basis from a source
       other than the;Company or the Company's Representatives, provided that such other source
       is not known by us to be bound by an obligation of confidentiality or noriuse with respect
       to such information, (ii) is or becomes available to the public from a s"ource othet than us
       or our Represeritatives, (iii) is independently developed by us or our Representatives
       without the use of or reference to any Confidential Information or (iv) was within our
       possession prior to it being fiu-nished to us by or on behalf of the Company or the


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         Company's Representatives. We and our Representatives will- use such Confidential
         Information only in conriection with our consideration of whether to enter into the Potential
         Transaction with the Company and our evaluation, negotiation and/or consummation of a
         Potential Transaction witli the Company. We hereby agree that all Confidential
         Information will be maintained securely while in our or our Representatives' possession.
         We shall have the right to communicate the Confidential Information only to our
         Representatives who need to know the Confidential Information for the purposes of
         assisting or advising us with respect to the Potential Transaction, provided that each such
         Representative shall be instructed by us to abide by the confidentiality and use terms of
         this Agreement as if any such Representative was party hereto: We and our Representatives
         agree that, without prior written consent of the Company and except in accordance with
         the provisions set forth in this Agreement, we and our Representatives will not disclose to
         any other person any Confidential Information.

    3. Except as set forth in any definitive agreement executed by the parties hereto in connection
       with a Potential Transaction, we acknowledge that neither the Company nor any of the
       Company"s Representatives makes any representation as to the accuracy or completeness
       of such Confidential Informafion and that neither the. Compariy nor any of the Company's
       Representatives shall have any liability to us or our Representatives as a result of our or
       our Representatives' reliance ori or use of such Confidential Information. We agree that,
       uritil a definitive acquisition agreement is executed between us and the Company, the
       Company has no legal obligation of any kind whatsoever with respect to any transaction
       (including the Potential Transaction), including any obligation to consummate the Potential
       Transaction, conduct or continue discussions or negotiations or enter into or negotiate a
       definitive agreement, by virtue of this Agreement or otherwise. Notwithstanding the
       preceding sentence, nothing in this Agreement sha11 prohibit the enforcement of any
       binding terms of an executed letter of intent or any other definitive written agreement
       between us and the Company.

    4. Promptly upon request by or on behal.f of the Company, we agree to return or destroy, at
       oar sole election, all Confidential Information in our or our Representatives' possession.
       Notwithstanding the foregoing, we and our Representatives shall (i) be permitted to retain
       a copy of the Confidential Information to the extent required to comply with applicable
       law, court order or other legal or regulatory process or authority or written and established
       internal document retention policies and (ii) not be required to destroy, delete, or modif-y
       any backup tapes or other media pursuant to autoinated archival processes in our ordinary
       course of business, provided in each case (i) and (ii) herein, any such Confidential
       Information r.etained shall. remain subject to the confidentiality obligations of this
       Agxeement for the term of this.Agreement.,

     5.. To the e.xtent the disclosure of Confidential Information is requested or required by any
         law, regulation, court order, subpoena, .civil investigative demand, arbitration or legal,
         regulatory, or judicial process or proceeding by or before a governmental, regulatory or
         self-regulatary authority or by the rules of any recognized stock exchange, we wi11 provide
         prompt advance written notice (to the extent practicable or legally permissible) of such
         request or requirement and the docuinents and/or information required thereunder: to the
         Compariy prior to disclosing any Confidential Information.and cooperate with any atteinpt

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         by the Company (at the Company's sole cost and expense) to obtain confidential treatment
         thereof. If in the absence of a protective order or the receipt of a waiver hereunder we are
         nonetheless, upon the advice of our counsel, required to disclose Confidential Information,
         we may disclose without liability hereunder that portion of the Confidential Information
         which our counsel advises that we are required to disclose; provided, however, that we
         shall give the Company written notice of the information to be so disclosed as far in
         advance of its disclosure as is practicable and legally permissible and shall use our
         commercially reasonable efforts to cooperate with the Company (at the Company's sole
         cost and expense) in its efforts to obtain an order or other reliable assurance that
         conf dential treatment will be accorded to such portion of the information required to be
         disclosed as the Coinpany designates.

    6. The Company has read our prospectus, dated October 26, 2016 (the "Prospectus"), and
       understands that we have established a segregated trust account (the "Trust Account"), for
       the benefit of the public shareholders (as defined in the Prospectus). The Company hereby
       agrees that it does not have any right, title, interest or claim of any kind in or to any monies
       in the Trust. Account, including without limitation any claim for indemnification ("Claim")
       and hereby waives any Claim it may have in the future as a result of, or arising out of, any
       negotiations, contracts or agreements amongst us and the Company and will not seek
       recourse 'against the Trust Account for any reason whatsoever.

    7. We acknowledge and agree that money damages may not be a sufficient remedy for any
       breach of this Agreement and that, as a remedy for any such breach, the Company may be
       entitled to specifc performance, injunctive, and/or other equitable relief. Such reinedy
       shall not be deemed to be the exclusive remedy for any breach of this Agreement. In
       addition to the Company's other rights hereunder, the Company retains all rights and
       remedies the Company may have under applicable Iaw. This Agreement and all matters
       arising from or relating to this Agreement shall be governed by and construed in
       accordance with the laws of the State of New York, without regard to tbe conflict of law
       principles thereof. We agree to waive trial by jury in any action, proceeding or counterclaim
       brought by or on behalf of either party with respect to this ab eement. We hereby
       irrevocably and unconditionally consent to submit to the jurisdiction of the courts of thc
       State of New York and, of the United States of America located in the State of NeNv York
       for any action, suit or proceeding arising out of or relating to this Agreemeiit, agree not to
       commence any suit, action or proceeding relating thereto except in such courts, and waive,
       to the fullest extent permitted by law, the right to move to dismiss or transfer any action
       brought in such court on the basis of any objection to personal jurisdiction or venue.

    8. We agree and acknowledge that this Agreement cannot be amended or terminated, and. no
       provision may be waived or modified, without the written consent of both Recipient and
       the Conipany. This Agreement represents the eritire understanding and agreement of the
       parties hereto and may be modified only by a separate written agreement executed by us
       and the Company expressly .modifying this Agreement.

    9, The terms and conditions of. this Agreeinent will continue for a period of two (2) years
        from the Effective Date.



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      10.In the event that any provision or portion of this Agreement is determined to be invalid or
         unenforceable for any reason, in whole or in part, the remaining provisions of this
         Agreement shall be unaffected thereby and shall remain in fiill force and effect to the fullest
         extent permitted by law, and such invalid or unenforceable term or provision shall be
         deemed replaced by a term or provision that is valid and enforceable and that comes closest
         to expressing the Company's intention with respect to such invalid. or unenforceable term
         or provision.

      11.Tlie provisions of this Agreement shall be binding solely tipon and inure to the benefit of
         the parties hereto and their respective successors and assigns. We may not assign any or all
         rights, powers, privileges and obligations under this Agreement without the Company's
         prior written consent.

     12. This Agreement may be executed in any number of counterparts, each of which wlien so
         executed shall be deemed an original, but such counterparts shall together constitute one
         and the same agreement. Execution and delivery of this Agreement by electronic exchange
         bearing the copies of a party's signature shall constitute a valid and binding execution and
         delivery of this Agreement by such party. Such electronic copies sha11 constitute
         enforceable origiilal documents.

                                       [Signature Page Folloivs]




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         IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of the date
 first written abave:


                                                      ItECIFIENT:

                                                      G'I'Y TEOIiNGI_.fIGY HGLDINGS INC.

                                                               %~~j ~.
                                                      By:
                                                      Name:      4 &tr~
                                                      Title:                  9. C   FO
         COMPANY:. OPENGOV, ING.



         By'              —
         Name:
         Title:




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    JOHN W..KEKER 94909x JEFFREYR. CHANIN d1g3849; NICHOt.AS S. GOLDBERC3 9273814
    KEKER, VAN NEST & PETERS LLP
    633 Battery Street.
    Sen Francisco, CA 94.111
        Tfera►ra<eeo.c41.5-391-5400                       FmNo.415-3g7-7188                                 ENDORSED FILED
    roxiaEY Foa rnu„ar~ Plaintiff OPENGOV INC.                                                               SAN~.(~Q~VNTy
    'ERIOR COUFtT OF CALlFORI1IA, COONTY OF SAN 'UATEO
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        sxuonwum, .Southem Branch                                                                                    DFPUTI' CLERK
   CASE NAA+iE; OPENGOV, INC. v,GTY TECHNOL0C3Y HOLDINGS INC., ETAL.

        C1VfL CASE COVER SHEET                              Complex Case peslgnatlon                  CKN "`
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                                          Items 1-8 below mus6be cornuleted fsee uislnictYone on pssre 2;
 1:- Check one box betaw for the case type thal best describes ihls. Case:
    Aato Tort                                    Contract                                      Provialonelly Comptex Civtl Littgation
    ❑     /►uto (22)                             ❑ eteaoh or ooMradkrenanly (M                   aL Rules of Court, rules 3,A004.403) .
    ❑     tlrttnsured motorht (46)               ❑ Rule 9.740 eotie#tons (Olt)                 ~     Anti3rrustrrrade regulation (Oy)
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    ❑     Fraud (1S)
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    ❑     Professionat negtigertce (25)
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    ❑     Othar non-AUPQIYVD tort:(357                ❑    Asset          (05)
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          wrongiul termtnatlon (36)                        Wdt.of maralate (02)

2 Tti(s case ® is ❑ Is not complex under rule 3.400 of the Ca'Gfomia Rules of Court. if the case (s compiex, mark Ihe
   factore nagufrtng.eucceptional judidal manegemenC
   a. ❑ Large number of separateiy represented parges. d. ® Large rtumisef of hritnesses
   b. ® Eictensive motlon practice raising dfifiartt or novel e. ❑ Coomination with retated actions pendlng tn one or mcre courts
           issues that wili 1:e.9roe-consundng to resolve                   In other eourtttes, states, or countdes, or In a federal court
   c. ® Substantiet  ainount   of d.oaunentary    evidence        f. ®  Substanttal  postjuudgment judlcial supervision
3. Remedies sought (check ad that aPply): a. ® monetary b. ® nortmoRetary; dedaratory or tnjunctive reifef                  c. ® punittve
4. Number of t3ouses of acdian (speclly): ()) Breach of Conitach (2) Indudng Breadi of Contrao0 (3) Fraud; (4) Trade Seaet Misappropdallon
5.This ease ❑. (s .® Is not a dass actian 'suiL
8. If there are any knovm.retated cases, fde and serve a notice of ►elated case (Y a form Cl
Oate:_ Navember 20, 2018                                                 ~ C~'1AM~r W

                                                                     NOTICE
 • PlaintiN must tde ttds oover sheet wiih the first paper 90 In the adFon or proceed(ng (exaept sma9 clalrna cases or cases ftled
   under the Probate Code. FamBy Code. or WeUare and lnstrlutions Code). (Cal. Rutes of Court, tule 3220.). Fa6ure to file may resutt
    in sanctIons.
 • FUe fhis cover sheet fn addition to any oaver sheet regutnei by local court rule.
 • tt this case is compiex under rule 3.400 et seq. of the CaBfomia Rufes of Court, you must senre a copy of thls covef sheet, oqall
   other partles to ttm adEan or proceeft.
 • Unless this is a cottections case under nde 3.740 or a compfex case, thls caver sheet wgl be used for stati2stfcaf purposes

ramAa~,e~a lorbr~ u,.                                 CML CASE COVER SHEET                                C~l RW~sd OwR a~l..Z7o, 3s2Q S~oo4~ar
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                                                                                                                                      CM-010
                                    INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET
To Plaintiffs and Others Filing First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must
complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
 statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
one box for the. case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
To Parties in Rule 3.740 Collections Cases, A"collections case" under rule 3.740 is defined as an action for recovery of money
owed in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in
which property, services, or money was acquired on credit. A collections case does not include an action seeking the following: (1) tort
damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
attachment. The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
time-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
case will be subject to the requirements for service and obtaining a judgment in rule 3.740.
To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as-complex, the cover sheet must be served with the
complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
plaintiffs designation, a counter-designation that the case is not complex, or; if the plaintiff has made no designation, a designation that
the case is complex.
                                                          CASE TYPES AND EXAMPLES




                                                                                                                                        Page 2 of 2
CM-010 (Rev. July 1, 2007)                         C IVI L C AS E COV ER S H E ET

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                                                                                                                                       C M-010
Auto Tort                                    Contract                                             Provisionally Complex Civil Litigation (Cal.
     Auto (22)—Personal Injury/Property          Breach of Contract/VVarranty (06)                Rules of Court Rules 3.400-3.403)
           DamageNVrongful Death                       Breach of Rental/Lease                          Antitrust/Trade Regulation (03)
     Uninsured Motorist (46) (if the                      Contract (not unlawful detainer              Construction Defect (10)
           case involves an uninsured                          or wrongful eviction)                   Claims Involving Mass Tort (40)
           motorist claim subject to                  Contract/Warranty Breach—Seller                  Securities Litigation (28)
           arbitration, check this item                    Plaintiff (not fraud or negligence).        Environmental/Toxic Tort (30)
           instead ofAuto)                            Negligent Breach of ContracU                     Insurance Coverage Claims
Other PI/PD/WD (Personal-Injury/                           Warranty                                        (arising from provisionally comp/ex
Property Damage/Wrongful Death)                       Other Breach of Contract/Warranty                    case type listed above) (41)
Tort                                             Collections (e.g., money owed, open               Enforcement of Judgment
    Asbestos (04)                                    book accounts) (09)                               Enforcement of Judgment (20)
          Asbestos Property Damage                   Collection Case—Seller Plaintiff                      Abstract of Judgment (Out of
          Asbestos Personal Injury/                  Other Promissory Note/Collections                          County)
                 Wrongful Death                           Case                                             Confession of Judgment (non-
     Product Liability (not asbestos or          Insurance Coverage (not provisionally                          domestic relations)
            toxic%nvironmental) (24)                 complex) (18)                                         Sister State Judgment
     Medical Malpractice (45)                        Auto Subrogation                                      Administrative Agency Award
          Medical Malpractice—                       Other Coverage                                             (not unpaid taxes)
                 Physicians & Surgeons           Other Contract (37)                                       Petition/Certification of Entry of
          Other Professional Health Care             Contractual Fraud                                          Judgment on Unpaid Taxes
                Malpractice                          Other Contract Dispute                                Other Enforcement of Judgment
     Other PI/PDM/D (23)                     Real Property                                                      Case
         Premises Liability (e.g., slip         Eminent Domain/lnverse                             Miscellaneous Civil Complaint
          and fall)                                  Condemnation (14)                                 RICO (27)
         Intentional Bodily Injury/PD/WD        Wrongful Eviction (33)                                 Other Complaint (not specified
                (e.g., assault, vandalism)      Other Real Property (e.g., quiet title) (26)               above) (42)
         Intentional Infliction of                   Writ of Possession of Real Property                   Declaratory Relief Only
                Emotional Distress                   Mortgage Foreclosure                                  Injunctive Relief Only (non-
         Negligent Infliction of                     Quiet Title                                                harassment)
                Emotional Distress                   Other Real Property (not eminent                      Mechanics Lien
         Other PI/PDNUD                              domain, landlord/tenant or                            Other Commercial Complaint
Non-PI/PD/WD (Other) Tort                            foreclosure)                                               Case (non-tort/non-complex)
    Business Tort/Unfair Business            Unlawful Detainer                                             Other Civil Complaint
       Practice (07)                            Commercial (31)                                                 (non-torf/non-complex)
    Civil Rights (e.g., discrimination,         Residential (32)                                   Miscellaneous Civil Petition
       false arrest) (not civil                 Drugs (38) (if the case involves illegal               Partnership and Corporate
       harassment) (08)                              drugs, check this ifem; otherwise,                    Governance (21)
    Defamation (e.g., slander, libel)                report as Commercial or Residential)              Other Petition (not specified
       (13)                                  Judicial Review                                               above) (43)
    Fraud (16)                                  Asset Forfeiture (05)                                      Civil Harassment
    Intellectual Property (19)                  Petition Re: Arbitration Award (11)                        Workplace Violence
    Professional Negligence (25)                Writ of Mandate (02)                                       Elder/Dependent Adult
       Legal Malpractice                             Writ—Administrative Mandamus                               Abuse
        Other Professional Malpractice               Writ—Mandamus on Limited Court                        Election Contest
             (not medical orlegal)                       Case Matter                                       Petition for Name Change
     Other Non-PI/PDNVD Tort (35)                    Writ—Other Limited Court Case                         Petition for Relief From Late
Employment                                               Review                                                 Claim
    Wrongful Termination (36) Other             Other Judicial Review (39)                                 Other Civil Petition
       Employment (15)                               Review of Health Officer Order
                                                     Notice of Appeal—Labor
                                                         Commissioner Appeals




                                                                                                                                        Page 2 of 2
cM-010 IRev. Juty i, 20071                     CIVIL CASE COVER SHEET

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                                       NOTICE OF CASE MANAGEMENT CONFERENCE

                                                                ENDORSED Fr1LED l$ C I W p s 2 6 4
                                                                SAN ME1TE0 COUMse Ivo:                                                          ..
                                                                        unv a a :......
                                                                                                                       YA 212019
                                                                                                      Date:

                                                                                                     9:00 a.m.

                                                                                       Dept.                     --on Tuesday & Thursda
                                                                                       Dept.                     —on Wednesday& Friday


You are hereby given notice ofyour Case Management Conference. The date, _tirne and department have been written above:

1.    In accordance with applFcabla Califomia Rules of the Court and locel Rules '23(d)i-4 and 2.3(m), you are hereby ordered
      to:
            al Serve all named defendants.and file proofs,ot•sejvi4e.Qa tbode defendants with the court within 60.-days of filing
                the complaint (CRC 20L7).
            b) serve a copy of this notice, Case Management Statement and ADR Information 5heet on all named parties In this
                action.
           c) F11e and serve a completed Case Management Statement at'Ieast 15-days before the Case Management                ,
                Confererice (CRC 212(g)], Failure to do'so may, resuit 1a in'o'netary sanctlons.
           d) Meet and confe"t, in person or bytelephone,'to.consider each of the issues identifled In CRC 212(f) no later tban
                30-days before the:date set for the Case. Management Conference.
2.    •If you fall tk foliow tlie qrders_above, you are ordered to.show eause'inrhyyou should not be sanctioned. The Order
       to Show Cause hearing will be at the sametime as the Case Manageme.nt Conf.erence hearing. Sanctions may
       include monetary, evidentlary orlssue sanctionsas weltas striking.pleadings andf or dismissal.
3.     Continuances of case.Management Lonterences are ntgmyoistavorea umess gooC cause is shown.
4.     Parties may proceed to ah appropriate dispute resotution process ("ADR") byfiling a Stipulation to ADR and Proposed
       Order (see attached form). if plaintiff files a Stipulation to ADRand Proposed Order electing to proceed to judidel
       arbitration, the Case Management Conference will be taken off the court calendar and the case Wili be referred to the
       Arbitration Admipistrator. lf plaintiffs and defendants file a completed stipulation to another ADR process (e.g.,
       mediation)10--tays priorto the first scheduled Case Management.Conference, the Case-Management Conference will be
      continued for 90-days to allow parties titneto complete their ADR session. The courtwill notify parties oftEieir new Case
      Manageinent Conference date.
S.     If yo.0 have fited a defauit or a judgment has been entered, your case is not automatically taken off Case Management
      Conference Calendar, tf "Does°, "Roes,u etc: are named in your complalnt, they.must be dismissed ip orderto close the
      case. If any party'ls in bankruptcy, the case ls stayed oniy as to that named party,
6.    You are furtherordered to appear in person' (or through your attomey of reco.rd) at the Case Management Conference
      noticed above. You must be thoroughly familiar with the case and fuily authorized to proceed.
7.    The Case Management judge will lssue orders at the condusion ofthe conference that may indude:
           a) Referring parties to voluntary. ADR and setting ari ADR completion date;
           b) Dismissing or severing claims or parties;
            c) Settinga trial date.
S. The Case Management judge may be the trial judge ln this c•ase.

For further information regarding case management poUcles and procedures, seethe court's website at: wwwsanmateocourt.org
'relephonlc appeamnces at cose monogement conJerences are ovofloble by contocLTnp Courn:oll, Llty on lndepeadent veedor, ot leost/!ve buslnesr doys
                                                                                                                                                    prlor
to rhe scheduled,con/erence lsee.ottached CourtCd leformatlonJ.
                       Case 3:18-cv-07198-JSC Document 1-1 Filed 11/28/18 Page 43 of 60

                                                                                                                                                    CM-110
  ATTORNEY OR PARTY W ITHOUT ATTORNEY (Name, State Bar number, and address):                           I                 FOR COURT USE ONLV




              TELEPHONE NO.:                                FAX N0. (Optional):

     E-MAIL ADDRESS (Optional):

        ATTORNEY FOR (Name):

     SUPERIOR COURT OF CALIFORNIA, COUNTY OF
      STREET ADDRESS:

     MAILING ADDRESS:

     CITY AND ZIP CODE:

         BRANCH NAME:

        PLAINTIFF/PETITIONER:
 DEFENDANT/RESPONDENT:

                                    CASE MANAGEMENT STATEMENT                                              CASENUMBER:

 (Check one):              ❑        UNLIMITED CASE              ❑        LIMITED CASE
                                    (Amount demanded                     (Amount demanded is $25,000
                                    exceeds $25,000)                     or less)

 A CASE MANAGEMENT CONFERENCE is scheduled as follows:
 Date:                                           Time:                            Dept.:               Div.:                      Room:
 Address of court (if different from the address above):

  ❑          Notice of Intent to Appear by Telephone, by (name):

                  INSTRUCTIONS: AII applicable boxes must be checked, and the specified information must be provided.
1.     Party or parties (answer one):
       a. ❑ This statement is submitted by party (name):
       b. ❑ This statement is submitted jointly by parties (names):



2.     Complaint and cross-complaint (to be answered by ptaintiffs and cross-complainants only)
       a. The complaint was filed on (date):
       b. ❑ The cross-complaint, if any, was filed on (date):

3.     Service (to be answered by piaintiffs and cross-complainants only)
       a. ❑ AII parties named in the complaint and cross-complaint have been served, have appeared, or have been dismissed.
       b.     ❑      The following parties named in the complaint or cross-complaint
                     (1)      ❑     have not been served (specify names and explain why not):

                     (2)      ❑     have been served but have not appeared and have not been dismissed (specifynames):

                     (3)      ❑     have had a default entered against them (specify names):


        c.    ❑      The following additional parties may be added (specify names, nature of involvement in case, and date by which
                     they may be served):


4.     Description of case
       a. Type of case in ❑ complaint                        ❑ cross-complaint             (Describe, including causes of action):



                                                                                                                                                      Page 1 of 5
Form Adopted for Mandatory Use                                                                                                                Cal. Rules of Court,
   Judicial Council of California
                                                      CASE MANAGEMENT STATEMENT                                                                rules 3.720-3.730
     CM-110 [Rev. July 1, 2011]                                                                                                                www.courts.ca.gov

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                                                                                                                                           CM-110
        PLAINTIFF/PETITIONER:                                                                          c,ase NUMeeR:

  DEFENDANT/RESPONDENT:

4.    b. Provide a brief statement of the case, including any damages. (If personal injury damages are sought, specify the injury and
          damages claimed, including medical expenses to date [indicate source and amount], estimated future medical expenses, lost
          earnings to date, and estimated future lost earnings. If equitable relief is sought, describe the nature of the relief.)




      ❑       (If more space is needed, check this box and attach a page designated as Attachment 4b.)
5.    Jury or nonjury trial
      The party or parties request        ❑ a-jury trial     ❑ a nonjury trial.      (!f more than one party, provide the name of each party
      requesting a jury trial):

6. Trial date
    a. ❑ The trial has been set for (date):
    b. ❑ No trial date has been set. This case will be ready for trial within 12 months of the date of the filing of the complaint (if
              not, explain):

      c.     Dates on which parties or attorneys will not be available for trial (specify dates and explain reasons for unavailability):

7.    Estimated length of trial
      The party or parties estimate that the trial will take (check one):
      a. ❑ days (specify number):
      b. ❑ hours (short causes) (specify):


8.    Trial representation (to be answered for each party)
      The party or parties will be represented at trial ❑ by the attorney or party listed in the caption               ❑ by the following:
      a. Attorney:
      b. Firm:
      c. Address:
      d. Telephone number:                                                     f. Fax number:
      e. E-mail address:                                                       g. Party represented:
      ❑      Additional representation  is described  in Attachment 8.
9. Preference
    ❑     This case is entitled to preference (specify code section):
10. Alternative dispute resolution (ADR)
      a.     ADR information package. Please note that different ADR processes are available in different courts and communities; read
             the ADR information package provided by the court under rule 3.221 for information about the processes available through the
             court and community programs in this case.
           (1) For parties represented by counsel: Counsel ❑ has           ❑ has not           provided the ADR information package identified
               in rule 3.221 to the client and reviewed ADR options with the client.

           (2) For self-represented parties: Party ❑ has         ❑ has not reviewed the ADR information package identified in rule 3.221.
      b.     Referral to judicial arbitration or civil action mediation (if available).
           (1) ❑ This matter is subject to mandatory judicial arbitration under Code of Civil Procedure section 1141.11 or to civil action
                   mediation under Code of Civil Procedure section 1775.3 because the amount in controversy does not exceed the
                   statutory limit.
           (2) ❑ Plaintiff elects to refer this case to judicial arbitration and agrees to limit recovery to the amount specified in Code of
                 Civil Procedure section 1141.11.
           (3) ❑ This case is exempt from judicial arbitration under rule 3.811 of the California Rules of Court or from civil action
                 mediation under Code of Civil Procedure section 1775 et seq. (specify exemption):

CM-110 [Rev. July 1, 2011]                                                                                                                   Page 2 of 5
                                                 CASE MANAGEMENT STATEMENT
                                                                                                                           [American LeealNet. Inc.  D
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                                                                                                                                          CM-110
      PLAINTIFF/PETITIONER:                                                                        CASE NUMBeR:

DEFENDANT/RESPONDENT:

10. c. Indicate the ADR process or processes that the party or parties are willing to participate in, have agreed to participate in, or
         have already participated in (check all that apply and provide the specified information):


                              The party or parties completing     If the party or parties completing this form in the case have agreed to
                              this form are willing to            participate in or have already completed an ADR process or processes,
                              participate in the following ADR    indicate the status of the processes (attach a copy of the parties'ADR
                              processes (check all that apply):   stipulation):


                                                                   ❑    Mediation session not yet scheduled

                                                                   ❑    Mediation session scheduled for (date):
   (1) Mediation                             ❑
                                                                   ❑    Agreed to complete mediation by (date):

                                                                   ❑    Mediation completed on (date):


                                                                   ❑    Settlement conference not yet scheduled

   (2) Settlement                            ❑                     ❑    Settlement conference scheduled for (date):
        conference
                                                                   ❑    Agreed to complete settlement conference by (date) :

                                                                   ❑    Settlement conference completed on (date):


                                                                   ❑    Neutral evaluation not yet scheduled

                                                                   ❑    Neutral evaluation scheduled for (date):
   (3) Neutral evaluation                    ❑
                                                                   ❑    Agreed to complete neutral evaluation by (date):

                                                                   ❑    Neutral evaluation completed on (date):


                                                                   ❑    Judicial arbitration not yet scheduled

   (4) Nonbinding judicial                                         ❑    Judicial arbitration scheduled for (date):
       arbitration                           ❑                     ❑    Agreed to complete judicial arbitration by (date):

                                                                   ❑    Judicial arbitration completed on (date):


                                                                   ❑    Private arbitration not yet scheduled

   (5) Binding private                       ❑                     ❑    Private arbitration scheduled for (date):
       arbitration
                                                                   ❑    Agreed to complete private arbitration by (date):

                                                                   ❑    Private arbitration completed on (date):


                                                                   ❑    ADR session not yet scheduled

   (6) Other (specify):                     ❑                      ❑    ADR session scheduled for (date):

                                                                   ❑   Agreed to complete ADR session by (date):

                                                                   ❑   ADR completed on (date):


CM-110 [Rev. July 1, 2011]                                                                                                                 Page 3 of 5
                                             CASE MANAGEMENT STATEM ENT
                                                                                                                      American LegaLVet, Ine.     ~
                                                                                                                      —.FortnsWorkFlowcom ~
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                                                                                                                                             CM-110
         PLAINTIFF/PETITIONER:                                                                       cnsE NUMBER:

   DEFENDANT/RESPONDENT:

11. Insurance
      a. ❑ Insurance carrier, if any, for party filing this statement (name):
      b. Reservation of rights: ❑ Yes          ❑ No
      c. ❑ Coverage issues will significantly affect resolution of this case (explain):




12. Jurisdiction
    Indicate any matters that may affect the court's jurisdiction or processing of this case and describe the status.
      ❑    Bankruptcy ❑ Other (specify):
    Status:

13. Related cases, consolidation, and coordination
    a. ❑ There are companion, underlying, or related cases.
             (1) Name of case:
             (2) Name of court:
             (3) Case number:
                   (4)
                     Status:
             ❑      Additional cases are described in Attachment 13a.
      b.     ❑      A motion to    ❑     consolidate      ❑      coordinate      will be filed by (name party):

14. Bifurcation
    ❑    The party or parties intend to file a motion for an order bifurcating, severing, or coordinating the following issues or causes of
         action (specify moving party, type of motion, and reasons):



15. Other motions
     ❑        The party or parties expect to file the following motions before trial (specify moving party, type of motion, and issues):



16. Discovery
    a. ❑ The party or parties have completed all discovery.
    b ❑ The following discovery will be completed by the date specified (describe all anticipated discovery):
                   Partv                                     Description                                                 Date




      c.    ❑ The following discovery issues, including issues regarding the discovery of electronically stored information, are
              anticipated (specify):




CM-110 [Rev. July 1, 20111                                                                                                                    Page 4 of 5
                                                CASE MANAGEMENT STATEMENT
                                                                                                                         American LegaINet, Inc.
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                       Case 3:18-cv-07198-JSC Document 1-1 Filed 11/28/18 Page 47 of 60


                                                                                                                                           CM-110
        PLAINTIFF/PETITIONER:                                                                      cASE NUMeER:


  DEFENDANT/RESPONDENT:


17. Economic litigation
    a. ❑ This is a limited civil case (i.e., the amount demanded is $25,000 or less) and the economic litigation procedures in Code
          of Civil Procedure sections 90-98 will apply to this case.
    b. ❑ This is a limited civil case and a motion to withdraw the case from the economic litigation procedures or for additional
          discovery will be filed (if checked, explain specifically why economic litigation procedures relating to discovery or trial
          should not apply to this case):




18. Otherissues
       ❑      The party or parties request that the following additional matters be considered or determined at the case management
              conference (specify):




19. Meet and confer
    a. ❑ The party or parties have met and conferred with all parties on all subjects required by rule 3.724 of the California Rules of
           Court (if not, explain):



      b.     After meeting and conferring as required by rule 3.724 of the California Rules of Court, the parties agree on the following
             (specify):




20. Total number of pages attached (if any):

I am completely familiar with this case and will be fully prepared to discuss the status of discovery and alternative dispute resolution,
as well as other issues raised by this statement, and will possess the authority to enter into stipulations on these issues at the time of
the case management conference, including the written authority of the party where required.

Date


                                                                               1
                             (TYPE OR PRINT NAME)                                               (SIGNATURE OF PARTY OR ATTORNEY)



                                                                               '

                                  (TYPE OR PRINT NAME)                                          (SIGNATURE OF PARTY OR ATTORNEY)

                                                                               ❑ Additional signatures are attached.




CM-110 [Rev. July 1, 2011]                                                                                                                  Page 5 of 5
                                                    CASE MANAGEMENT STATEMENT
                                                                                                                       American LegalNet, Inc.
                                                                                                                       www. Forms WorkFlow. com
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Case 3:18-cv-07198-JSC Document 1-1 Filed 11/28/18 Page 48 of 60




         SUPERIOR CO-URT
               OF
                CALIFORNIA
                COUNTY OF
                SAN MATEO




             LOCAL COURT
                RULES
                     As Amended
            Effective July 1, 2018
     SUPERIOR COURT OF CALIFORNIA, COUNTY OF SAN MATEO
                    Hall of Justice and Records
                    400 County Center, 2"d Floor
                  Redwood City, California 94063
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Superior Court of California, County of San Mateo


                                      CHAPTER 7. COMPLEX CASES

Rule 2.30 Determination of Complex Case Desianation.


A.     Decision of Complex Case to be Made by Presiding Judge

       The Presiding Judge shall decide whether an action is a complex case within the meaning of
California Rules of Court, Rule 3.400, subdivision (a), and whether it should be assigned to a single judge
for all purposes. All status conferences or other hearings regarding whether an action should be designated
as complex and receive a singly assigned judge shall be set in the Presiding Judge's department.

B.     Provisional Designation.

         An action is provisionally a complex case if it involves one or more of the following types of
claims: (1) antitrust or trade regulation claiins; (2) construction defect claims involving many parties or
structures; (3) securities claims or investment losses involving many parties; (4) environmental or toxic
tort claims involving many parties; (5) claims involving massive torts; (6) claims involving class actions;
or (7) insurance coverage claims arising out of any of the claims listed in subdivisions (1) through (6).

        The Court shall treat a provisionally complex action as a complex case until the Presiding Judge
has the opportunity to decide whether the action meets the definition in California Rules of Court, Rule
3.400, subdivision (a).

C.    Application to Designate or Counter-Designate an Action as a Complex Case.

       Any party who files either a Civil Case Cover Sheet (pursuant to California Rules of Court, Rule
3.401) or a counter or joinder Civil Case Cover Slieet (pursuant to California Rules of Court, Rule 3.402,
subdivision (b) or (c)), designating an action as a complex case in Items 1, 2 and/or 5, must also file an
acconipanying Certificate Re: Complex Case Designation in the form prescribed by the Court. The
certificate must include supporting information showing a reasonable basis for the complex case
designation being sought. Such supporting information may include, without limitation, a brief description
of the following factors as they pertain to the particular action:

       (1)       Management of a large number of separately represented parties;
       (2)       Complexity of anticipated factual and/or legal issues;
       (3)       Numerous pretrial motions that will be time-consuming to resolve;
       (4)       Management of a large number of witnesses or a substantial amount of documentary evidence;
       (5)       Coordination with related actions pending in one or more courts in other counties, states or
                 countries or in a federal court;
       (6)       Whether or not certification of a putative class action will in fact be pursued; and
       (7)       Substantial post judgment judicial supervision.

      A copy of the Certificate Re: Complex Case Designation must be served on all opposing parties.
Any certificate filed by a plaintiff shall be served along with the initial service of copies of the Civil Case
Cover Sheet (pursuant to California Rules of Court, Rule 3.401), summons, and complaint in the action.
Any certificate filed by a defendant shall be served together with the sei-vice of copies of the counter or
joinder Civil Case Cover Slieet (pursuant to California Rules of Court, Rule 3.402, subdivision (b) or (c))
and the initial first appearance pleading(s).

D. Noncomplex Counter-Designation.

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Superior Court of California, County of San Mateo

     If a Civil Case Cover Sheet designating an action as a complex case and the acconipanying
Certificate Re: Complex Case Designation has been filed and sei-ved and the. Court has not previously
declared the action to be a complex case, a defendant may file and serve no later than its first appearance
a counter Civil Case Cover Sheet designating the action as not a complex case. Any defendant who files
such a noncomplex counter-designation must also file and serve an accompanying Certificate Re:
Complex Case Designation in the form prescribed by this Court and setting forth supporting information
showing a reasonable basis for the noncomplex counter-designatioli being sought.

     Once the Court has declared the action to be a complex case, any party seeking the Presiding Judge's
decision that tfie action is not a complex case must file a noticed niotion pursuant to Section H below.

E.   Decision by Presiding Judge on Complex Case Designation; Early Status Conference.

     If a Civil Case Cover Sheet designating an action as a complex case and the accompanying
Certificate Re: Complex Case Designation have been filed and served, the Presiding Judge shall decide as
soon as reasonably practicable, with or witliout a hearing, wliether the action is a complex case and
should be assigned to a single judge for all purposes.

     Upon the filing of a Civil Case Cover Sheet designating an action as a complex case and the
accompanying Certificate Re: Complex Case Designation, the Clerk of the Court shall set a status
conference at which the Presiding Judge shall decide whether or not the action is a complex case. This
status conference shall be held no later than (a) 60 days after the filing of a Civil Case Cover Sheet by a
plaintiff (pursuant to California Rules of Court, Rule 3.401) or (b) 30 days after the filing of a counter Civil
Case Cover Slieet by a defendant (pursuant to California Rules of Court, Rule 3.402, subdivision (a) or (b)),
whichever date is earlier.

     Alternatively, in his or her sole discretion, the Presiding Judge may make the decision on complex
case designation and single assignment, without a status conference, based upon the filed Civil Case
Cover Sheet and accompanying Certificate Re: Complex Case Designation alone.

F.   Notice.
     The party wtio seeks a complex case designation or a noncomplex counter-designation must give
reasonable notice of the status conference to the opposing patrty or parties in the action even if they have
not yet made a first appearance in the action. Such notice of the status conference shall be given in the
same manner as is required for ex parte applications pursuant to California Rule of Court, Rule 379.

G.     Tentative Ruling Procedures. (New)

      Tentative rulings by the Presiding Judge on the determination of wliether a case will be
deemed complex and receive a single assigned judge shall be posted by 3:00 p.m. one coui-t day
prior to the Complex Case Status Conference. Counsel for the parties and/or any self-
represented parties shall obtain the tentative ruling by telephoning (650) 261-5019 after 3:00
p.m. or by accessing the court's website at:
http://www.sanmateocoui-t.ora/online services/tentative rulinas.php, under the category
"Presiding Judge Law and Motion Calendar Tentative Rulings". Parties seeking to contest the
tentative ruling and present oral argument at the Complex Case Status Conference shall notify all
other parties and the Court by 4:00 p.m. on the court day before the Complex Case Status
Conference of that party's intention to appear. That party shall notify the Court by telephoning
(650) 261-5019 by 4:00 p.m. The tentative ruling will automatically become the ruling of the
Cotu-t if the Court has not directed oral argument by its tentative ruling and notice of intent to
appear lias not been timely given.

Div 1I - Rules                                            215                                    Revised 7/1/2015
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Superior Court of California, County of San Mateo

H.    Representations to the Court.

       By presenting to the Court a Certificate Re: Complex Case Designation, an attorney or
unrepresented pai-ty is certifying to the best of that person's knowledge, information, and belief, formed
after reasonable inquiry under the circumstances:

       (1)       That the complex case designation or noncomplex counter-designation is not being presented
                 for any improper purpose, such as to harass or to cause unnecessary delay or needless increase
                 in the cost of litigation;

       (2) That the claims, defenses, or other legal contentions referenced therein are warranted by
            existing law or by a non-fi•ivolous argument for the extension, niodification, or reversal of
            existing law or the establishment of new law;

       (3)       That the statement of supporting information relevant to the complex case designation or
                 noncomplex counter-designation have evidentiary support or are believed, in good faith, likely
                 to have evidentiary support after a reasonable opportunity for further investigation or
                 discovery; and

       (4)       That there is a reasonable basis for that party's complex case designation or noncomplex
                 counter-designation.

     If, after notice and a reasonable opportunity to be lieard, the Court deterinines that this subpart has
been violated, the Court may impose an appropriate sanction upon the attorneys, law firms, or self-
represented parties that have violated this subpart.

I.    The Presiding Judge's Continuing Power. (Repealecl, effective July 1, 2015)

      Pilot Prograni; Sunset Provision. (Repealed, effective 1/1/2007).

(Adopted, effective July 1, 2004)(Amended, effective July 1, 2005) (Amended, effective January 1,
2006)(Amended, effective January 1, 2007) (Amended, effective July 1, 2015)


RULE NUMBERS 2.31 TO 2.35 ARE RESERVED

CHAPTER S. ACCESS TO COURT RECORDS

Rule 2.36 Public Access and Privacy

       Please reference. California Rules of Court. Rule 1.20.

       (Adopted, effective January 1, 2008)

Rule 2.37 Public Access.

Exhibits or attachments to a document that are filed or lodged witli or otherwise presented to the court,
that are not otherwise marked as confidential or sealed, may be subject to public viewing and access
either at the courthouse or electronically on-line (California Rules of Court, Rule 2.503, et seq.).

       (Adopted, effective January 1, 2008)

Rule 2.38 Electronic Access.
Div lI - Rules                                              216                                  Revised 7/1/2018
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Superior Court of California, County of San Mateo


Documents that are part of a court record are reasonably made available to the public electronically under
the Court's Electronic Imaging program as pel-mitted by California Rules of Court. Rules 2.500, et seq.
Documents that are not properly protected by beine, marked confidential or sealed by court order may be
subject to public access as discussed in Rule 2.38.

          (Adopted, effective January 1, 2008)




Div II - Rules                                          217                                  Revised 7/1/2018
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Attomey or Party withou,t Attotney (Name/Address)                         FOR COURT USE ONLY
 JOHN W. KEKER
 KEKER. VAN NEST & PETERS LLP
 633 Battery St.. San Francisco, CA 94111
Telephone: 415-391-5400                                               EWDORSED F1LED
State Bar No.:4.9092                                                  S~ ~TEO CDU~
Aitorne for.
SUPERIOR COURT OF CALIFORNIA                                                 ~OV 2 0 2~
COUNTY OF SAN MATEO
400 COUNTY CENTER                                                     Clerk of the Supenor L;cur:
REDWOOD CITY, CA 94063                                                By IAIRNA P. RlVER8'MNfflLN9
                                                                              t)EPU rY CLERK
Plaintiff
 OPENGOV, INC.
Defendant
 GTY TECHNOI:oGY HOLDINGS:INC.,.et al.
                                                                                Case Number
             Gertificate:Re Complex Case Designation.
                                                                           i Rr. 1 U 0 6_         e~


  This certificate ruust be completed and fited with your Civil Case Cover Sheet if
      you have checked a Complex Case designation or Counter-Designation

    1.      In the attached .Civil Case Cover Sheet, this case is-being designated or counter=designated
            as a complex case [or as not a complex case] because at least one or more of thefollowing
            boxes has been checked:

                o Box 1— Case type that is best.described as being [or not being] provisionally
                   coinplex civil litigation (i.e., antitrust or trade regulation claims, construction
                   defect.claims involving many parties or structures, securities claims .or investment
                   losses 'involving-inany parties, enviroemental or toxic tort claims involving niany
                   parties, claims'involving mass:torts, or insurance coverage claims arising oiit of
                   any of the foiegoing claims).
                rX Box 2— CompleX [or not coinplex] due to factors requiring exceptional judicial
                   management
                o Box 5— Is [or is not] a class action suit.


    2.      This case is being so designated based upon the following supporting information
            [including, without limitation, a brief description of the following factors as they pertain to
            this particular case: (1) management of a large number of separately represented parties;
            (2) complexity of anticipated factual andlor legal issues; (3) numerous pretrial motions
            that will be time-consuming to resolve; (4) management of a large number of witnesses or
            a substantial amount of documentary evidence; (5) coordination with related actions




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      Case 3:18-cv-07198-JSC Document 1-1 Filed 11/28/18 Page 54 of 60




              pending in one or more courts in other counties, states or countries or in a federal co.urt;
              (6) whether or not certification of a putative class aetion, will in fact be pursued; and (7)
              substantial post judginent judicial. super.vision]:
               —      See attached "supplement to Certificate re Complex Designation




                                        (dttach adctitional pages fa.ecesscrry)'


 3,      Based.on.the above-stated supportirig iriformation, there is a reasonable basis.for the comptex
         case designation or counter-designatiori [or noncolTlpleY case eo.unter-designatioti] being,maCle
         in the attached Civil Case Cover Sheet:




I, the undersigried counsel or self-represented party, hereby certify that the above is true and correct.
and thai I malce this cet•tificatiori subject to the applicable.provisions of California Code of Civil
Procedure, Section'128.7 and/or.California Rules of Professional.Conduct, Rule 5_ -20'0 (B) and San
Matco County.Sbperior Cburt:liocal Rules,-Local Ruie 2;30.



Dated: Noveniber 20, .2018


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jType. or`Print Name]                            [Signat e:of Party oT Attoine~or;Farty]




:CV-59 [Rev;..1/06]                                                                www.sarunateocourt:org
Case 3:18-cv-07198-JSC Document 1-1 Filed 11/28/18 Page
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 5    San Francisco, CA 94111-1809
      Telephone: 415 3915400
 6    Facsimile:     415 397 7188
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 8    OPENGOV, INC.
 9
                          SUPERIOR COURT OF THE STATE OF CALIFORNIA
10
                                  IN AND FOR THE COUNTY OF SAN MATEO
11
      OPENGOV, INC.                                       Case No.       1$GI V O 6. 264
12
                     Plaintifly                           OPENGOV, INC.'S SUPPLEMENT TO
13                                                        CERTIFICATE RE COMPLEX
                V.                                        DESIGNATION
14
       GTY TECHNOLOGY HO1.D,INGS INC., a
15    Caynzan Islands exempted company, GTY
      TECHNOLOGY HOLDIN.GS INC:, a
16     Massachusetts corporation, GTY
       TECHNOLOGY MERGER SUB, INC., a
17     Delaware corporation, GTY 1NVESTORS,
       LLC, a Delaware Iinuted liability company,
18    -HARRY L. YOU, an individual, STEPHEN
      J. ROHLEDER, an individual, and DOES 1
19    through 50, inclqsive.
20                   Defendants.

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22
23
24
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26
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281

                                        TO
                                                    Case No.
      1311®S8
      Case 3:18-cv-07198-JSC Document 1-1 Filed 11/28/18 Page 56 of 60




 1 lm            INTRODUCTION

 2               Pursuant to California Rule of Coui-t 3.400. et seq., and Local Civil Rule 2.30, Plaintiff

 3     OpenGov, Inc. ("OpenGov") has requested that its case be designated as complex. As discussed

 4     more fully in OpenGov's complaint, OpenGov has sued to obtain redress for Defendants' breach

 5     of the parties' Confidentiality Agreement, and Defendants' willful rriisuse of OpenGov's

 6,    proprietary, confidential and trade secret information to effectuate a proposed business

 7     coinbination and to compete unlawfully with OpenGov. The complaint asserts four causes of

 8     action: (1) breach of contract, (2) inducing breach of contract, (3) fraud, and (4) trade secret

 9     misappropriation. The day before Plaintiff s filing in this Court, after being told that OpenGov

10     would file a complaint if the matter could not be resolved through settlement, Defendants filed a

11     preemptive lawsuit for declaratory relied in the United States District Coui-t for the Southern

12 I District of New York, Case No. 1:18-cv-10854.

13               Because the underlying venue and merits issues may prove numerous and complex, there

14     will likely be extensive motion practice raising coinplex issues, the documents are voluminous

15     and there are numerous potential witnesses, including representatives of at least six third party

16     companies who are the subject of Defendants' prospective merger, but whose identities were

17     misappropriated by Defendants from OpenGov, this case will require exceptional judicial

18     management. It is a compelling candidate for assigmnent to this Court's Complex Civil

19     Litigation Judge ("Complex Judge"), and both the case and the litigants participating in it will

201    benefit from such an assigmnent. Accordingly, OpenGov respectfully requests that the Court

21     designate the case complex and assign it for all purposes to the Complex Judge.

22     II. THE RULE 3.400 FACTORS WARRANT COMPLEX DESIGNATION.

23               A.     The case may involve numerous pretrial motions raising difficult or novel
                        legal issues that will be time-consuming to resolve.
24

25               This lawsuit is likely to involve pretrial motions raising difficult or novel legal issues that

26     may be time-consuming to resolve. See Cal. R. Ct. 3.400(b)(1). For example, this case currently

27     involves parallel proceedings in this Court and a Federal Court, and there may be a dispute about

28     venue or whether both cases should proceed. The complaint further implicates potentially

                                                            1
                              SUPPLEMENT TO CERTIFICATE RE COMPLEX DESIGNATION
                                                   Case No.
       1311058
                                                         r
     Case 3:18-cv-07198-JSC Document 1-1 Filed 11/28/18 Page 57 of 60              1,,   1




 1    cornplex legal questions concerning contract, tort, and trade secret law, as well as technical issues

 2    regarding Special Purpose Acquisition Companies, Defendants' business structure, and their

 3    anticipated business combination. Some of OpenGov's trade secret infoi-ination, moreover, is still

 4    in the possession of Defendants' agents and has not yet been returned, despite OpenGov's

 5    request. Furthermore, OpenGov's pre-litigation effort to resolve this case was unsuccessful.

 6    Based on that experience, it appears that this case will be hard fought, with both sides likely to

 7    file preliminary and dispositive motions. Finally, given the highly specific facts at the heart of

 8    this dispute, any motion practice will be time-consuming to resolve.

 9              It would be extreinely inefficient for these motions to be heard by different judges, all of

10    whom would have to familiarize themselves with the underlying Confidentiality Agreement,

11    multiple pai-ties, and the relevant coinmunications between OpenGov, Defendants, and the six

12    acquisition target companies. A single assignment to the Court's Complex Judge will better

13    ensure that this dispute can be resolved efficiently so as not to prolong this litigation.

14              B.     The case will require a substantial amount of documentary evidence, and
                       other discovery from a large number of witnesses.
15

16              This case should also be designated complex because it is expected to involve the

17    management of a substantial amount of documentary evidence and a large number of witnesses,

18    as well as the coordination of discovery issues related to confidential and competitively sensitive

19    documents and infoi-mation. See Cal. R. Ct. 3.400(b)(2). The parties were involved prolonged

20    and extensive discussions and communications for well over one year, and during that time they

21    exchanged thousands of pages of documents, text messages, voicemails, and other

22    communications. OpenGov further expects that there will be a substantial amount of relevant

23    internal communications among Defendants and communications between Defendants and third

24    parties, including the six acquisition targets that OpenGov identified and Defendants

25    subsequently inisappropriated. Many of these documents may involve confidential material,

26    further increasing the complexity involved in the discovery process.

27              Furthermore, this case will require testimony from a substantial number of party and non-

28    party witnesses, including Defendants, Defendants' representatives, bankers and lawyers, and

                                                          2
                            SUPPLEMENT TO CERTIFICATE RE COMPLEX DESIGNATION
                                                 Case No.
      1311058
      Case 3:18-cv-07198-JSC Document 1-1 Filed 11/28/18 PageJ I58rof 60




  1    representatives of the six acquisitioxi targets. Because sonie of these witnesses are located outside
  2    of this Court's jurisdiction, securing, these witnesses' testimony may renuire motion practice arid
  3    judicial supei-vision. It. would best serve the principles of justice and judicial efficiency if a single
  4    decision-makei manages issues regarding the substantial number ofdocuments and witriesses as
  5    the case-progresses.
  6               C.      The case potentially-involves management of several additional represented
                          parties.
  7

  8               This ca"se will likely involv.e. rnultiple represented pailies and non=pat-ties.   See. Cal.   R. Ct.
  9    3.400(b)(3). OpenGov's complaint natnes six Defendants. The cornplaint also iznplicates several
1Q     non-pai-ties who are likely:to be sepaiately represented,, iricluding the siY, acquisition target
Il     coinpanies. Management of tliese parties and non-pai-ties—sevetaI of whoin are likely to be
12     separately represented—is best delegated-to th"e CompleY 7udge.
13                D.      The action.ruay.involve substatitial postjudgnierit judicial supervision.
14                Finally, because OpenGov seeks 'injunctive relief, a constructive trust o.ver OpenGov's
1_5    interest in New GTY and GTY Ivlerger Sub; and. disgorgdineiit of Defendants' unjust enrichment,
16.    post=judginent judicial supervision may be necessary to, ensure compliance-with the Courrt's
1:7    orders. See Cal. R. "Ct,

18.    III. CONCLi1SION
19                For these reasons, UperiGo"v respectfully reque'sts that the Court.formally designate this

'20    case"as "coinpleY,"' and :assign the;:action to .the Cotiiit's Complex "Judge:
2I.
      Dated; November                                               KEKER,"VAN NEST & PETERS LLP`
22

23.

24
                                                                     EFFREY        R. CHANIN
                                                                        .....d... ."..-.... . ,
2;
 5                                                                   JIGI~03,A5 `.S."GOLDBER.G
26                                                                 -Attorneys for Plaintiff
                                                                    OPENGOV;~TNG.;.
~7

~28

                                                              3_
                              SC3PPLEMENT T.O CPRTIFICATE RE COMPLEX D ESIGNATION
                                                     Case No.: .... .
      131"1058"
    Case 3:18-cv-07198-JSC Document 1-1 Filed 11/28/18 Page 59 of 60



             APPROPRIATE DISPUTE RESOLUTION INFORMATION SHEET

               SUPERIOR COURT OF CALIFORNIA, SAN MATEO COUNTY

In addition to the court provided voluntary and mandatory settlement conferences, this
court has established, in partnership with the community and Bar Association, the Multi-
Option ADR Project. Recognizing that many civil disputes can be resolved without the
time and expense of traditional civil litigation, the San Mateo County Superior Court
encourages the parties in civil cases to explore and pursue the use of Appropriate
Dispute Resolution
WHAT IS APPROPRIATE DISPUTE RESOLUTION?

Appropriate Dispute Resolution (ADR) is the general term applied to a wide variety of
dispute resolution processes which are alternatives to lawsuits. Types of ADR
processes include arbitration, mediation, neutral evaluation, mini-trials, settlement
conferences, private judging, negotiation, and hybrids of these processes. AII ADR
processes offer a partial or complete alternative to traditional court litigation for resolving
disputes.

WHAT ARE THE ADVANTAGES OF USING ADR?

ADR can have a number of advantages over traditional court litigation.

•    ADR can save time. Even in a complex case, a dispute can be resolved through
     ADR in a matter of months or weeks, while a lawsuit can take years.

•    ADR can save money. By producing earlier settlements, ADR can save parties and
     courts money that might otherwise be spent on litigation costs (attorney's fees and
     court expenses).

•    ADR provides more participation. Parties have more opportunity with ADR to
     express their own interests and concerns, while litigation focuses exclusively on the
     parties' legal rights and responsibilities.

•    ADR provides more control and flexibility. Parties can choose the ADR process
     most appropriate for their particular situation and that will best serve their particular
     needs.

•    ADR can reduce stress and provide greater satisfaction. ADR encourages
     cooperation and communication, while discouraging the adversarial atmosphere
     found in litigation. Surveys of disputants who have gone through ADR have found
     that satisfaction with ADR is generally high, especially among those with extensive
     ADR experience.
Arbitration, Mediation, and Neutral Evaluation

Although there are many different types of ADR processes, the forms most commonly
used to resolve disputes in California State courts are Arbitration, Mediation and Neutral
Evaluation. The Multi-Option ADR Project a partnership of the Court, Bar and
Community offers pre-screened panelists with specialized experience and training in
each of these areas.
Arbitration: An arbitrator hears evidence presented by the parties, makes legal rulings,
determines facts and makes an arbitration award. Arbitration awards may be entered as

Form ADR-CV-8 "Court ADR Information Sheet ADR-CV-8" [Rev. Feb. 2014]
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judgments in accordance with the agreement of the parties or, where there is no
agreement, in accordance with California statutes. Arbitrations can be binding or non-
binding, as agreed by the parties in writing.
Mediation: Mediation is a voluntary, informal, confidential process in which the
mediator, a neutral third party, faci[itates settlement negotiations. The mediator
improves communication by and among the parties, helps parties clarify facts, identify
legal issues, explore options and arrive at a mutually acceptab[e resolution of the
dispute.
Neutral Evaluation: Involves presentations to a neutral third party with subject matter
expertise who may render an opinion about the case the strengths and weaknesses of
the positions, the potential verdict regarding liability, and a possible range for damages.
CIVIL ADR PROCEDURES FOR THE SAN MATEO COUNTY SUPERIOR COURT
    •    Upon filing a Complaint, the Plaintiff will receive this information sheet from the
         Superior Court Clerk. Plaintiff is expected to include this information sheet when
         he or she serves the Complaint on the Defendant.

         AII parties to the dispute may voluntarily agree to take the matter to an ADR
         process. A stipulation is provided here. Parties chose and contact their own ADR
         provider. A Panelist List is available online.

         If the parties have not agreed to use an ADR process, an initial Case
         Management Conference ("CMC") will be scheduled within 120 days of the filing
         of the Complaint. An original and copy of the Case Management Conference
         Statement must be completed and provided to the court clerk no later than
         15 days prior to the scheduled conference. The San Mateo County Superior
         Court Case Management Judges will strongly encourage all parties and their
         counsel to consider and utilize ADR procedures and/or to meet with the ADR
         director and staff where appropriate.

    •    If the parties voluntarily agree to ADR, the parties will be required to sign and file
         a Stipulation and Order to ADR.

         A timely filing of a stipulation (at least 10 days prior to the CMC) will cause a
         notice to vacate the CMC. ADR stipulated cases (other than judicial arbitration)
         will be continued for further ADR/Case Management status review in 90 days. If
         the case is resolved through ADR, the status review date may be vacated if the
         court receives a dismissal or judgment. The court may upon review of case
         information suggest to parties an ADR referral to discuss matters related to case
         management, discovery and ADR.

    •    Any ADR Services shall be paid for by the parties pursuant to a separate ADR
         fee agreement. The ADR Director may screen appropriate cases for financial aid
         where a party is indigent.
    •    Local Court Rules require your cooperation, in eva[uating the ADR Project and
         will expect a brief eva[uation form to be completed and submitted within 10 days
         of completion of the process.

You can find ADR forms on the ADR webpage: www.sanmateocourt.org/adr. For more
information contact the Multi-Option ADR Project at (650) 261-5075 or 261-5076.


Form ADR-CV-8."Court ADR Information Sheet ADR-CV-8" [Rev. Feb. 2014]
